                                        EXHIBIT C


                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              RALEIGH DIVISION


MUHAMMED BAZZI                      )
                                    )
            Plaintiff,              )
                                    )                          Case No. 5:11-cv-00353-H
vs.                                 )
                                    )
PA NDERRY MBAI,                     )                     JUDGE MALCOLM J. HOWARD
FREEDOM NEWSPAPER, INC. AND )
JOHN DOE                            )
                                    )
            Defendant.              )
____________________________________)


                      APPENDIX OF UNREPORTED CASES TO
               DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF
                 ITS MOTION TO DISMISS AND MOTION TO STRIKE


See Jackson v. Mecklenburg County, 2008 U.S. Dist. LEXIS 104410, *18 (W.D.N.C. July 30, 2008)

RDLG, LLC v. RPM Group LLC, 2010 U.S. Dist. LEXIS 142881, *29-30 (W.D.N.C. Dec. 21, 2010)

Diario El Pais, S.L. v. Nielsen Co., 2008 U.S. Dist. LEXIS 92987, *20 (S.D.N.Y. Nov. 6, 2008)

Esancy v. Quinn, 2006 U.S. Dist. LEXIS 8479, at *3 (W.D.N.C. 2006)

Haylash v. Volvo Trucks N. Am., 1998 U.S. Dist. LEXIS 12511, *8-9 (D.N.C. Apr. 10, 1998)

Shella v. Foster, 2006 N.C. App. LEXIS 1216, *6 (N.C. Ct. App. June 6, 2006)




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                                             2 of 100 DOCUMENTS

               BRENDA R. JACKSON and LYNN C. BECKER, Plaintiffs, vs. MECKLENBURG
               COUNTY, NORTH CAROLINA, and SUSAN VILLESCAS, JANET CAMERON,
                            and LYNDA CAYAX, Individually, Defendants.

                                        CIVIL ACTION NO. 3:07-cv-218

                 UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                           NORTH CAROLINA, CHARLOTTE DIVISION

                                          2008 U.S. Dist. LEXIS 104410


                                             July 30, 2008, Decided
                                              July 30, 2008, Filed

COUNSEL: [*1] For Brenda R. Jackson, Lynn C.              OPINION
Becker, Plaintiffs: Jenny L. Sharpe, LEAD ATTORNEY,
Jenny L. Sharpe, Attorney at Law, Charlotte, NC.
                                                          ORDER
For Mecklenburg County, Defendant: Richard Lee
Rainey, LEAD ATTORNEY, Womble, Carlyle,                        THIS MATTER is before the Court on Defendants'
Sandridge & Rice, Charlotte, NC.                          Mecklenburg County, North Carolina ("County"), Susan
                                                          Villescas ("Villescas"), Jane Cameron ("Cameron"), and
For Susana Villescas, Defendant: Louis L. Lesesne, Jr.,   Lynda Cayax ("Cayax") Motion To Dismiss Plaintiffs'
LEAD ATTORNEY, Essex Richards, P.A., Charlotte,           Brenda R. Jackson ("Jackson) and Lynn C. Becker
NC; Richard Lee Rainey, Womble, Carlyle, Sandridge &      ("Becker") claims for breach of contract, defamation,
Rice, Charlotte, NC.                                      violation of 42 U.S.C. § 1983, [*2] negligent supervision
                                                          and retention, defamation, and tortious interference with
For Janet Cameron, Defendant: Felicia A. Washington,      contract for failure to state a claim under Fed. R. Civ. P.
LEAD ATTORNEY, K&L Gates LLP, Charlotte, NC;              12(b)(6). For the reasons set forth below, this Motion is
Richard Lee Rainey, Womble, Carlyle, Sandridge &          GRANTED.
Rice, Charlotte, NC.
                                                          I. FACTUAL BACKGROUND
For Lynda Cayax, Defendant: Philip M. VanHoy,
Stephen J. Dunn, LEAD ATTORNEYS, Van Hoy,                     The County hired Jackson on November 24, 2004 as
Reutlinger, Adams & Dunn, Charlotte, NC; Richard Lee      Deputy Director of the Mecklenburg County Department
Rainey, Womble, Carlyle, Sandridge & Rice, Charlotte,     of Social Services ("DSS"). As Deputy Director, Jackson
NC.                                                       was a member of the DSS Senior Executive Team
                                                          ("SET") and reported directly to DSS Director Richard
JUDGES: Graham C. Mullen, United States District          Jacobsen ("Jacobsen").
Judge.
                                                              In early 2005, Jacobsen suffered a stroke and took an
OPINION BY: Graham C. Mullen                              extended medical leave. Jackson served as interim




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director until Jacobsen's return on August 8, 2005.         "celebrating Brenda Jackson's resignation." Becker also
Jackson resumed her duties as Deputy Director, but soon     referenced a November memo from Cameron to Jacobsen
communicated      grievances     regarding    Jacobsen's    that allegedly accused Becker of "dishonesty" and of
performance to several coworkers, including County          having a "poor attitude towards team building." County
Manager Harry L. Jones. These grievances alleged that       Commissioner Bill James ("James") replied to Becker's
Jacobsen      was   extremely     forgetful,  impulsive,    resignation with an email to the entire County and
inappropriately angry, that he exercised poor judgment,     members of the local media requesting more information
and was negatively affecting DSS operations. Jackson        regarding Becker's resignation. James stated that he
also alleged Jacobsen made inappropriate, implicitly        wanted the Board to be "informed of such details" when a
racial jokes.                                               long-time DSS staffer accuses supervisors of racism.

     In November 2006, Mecklenburg County                        Jackson now brings various breach of contract and
Administrative Services Director, Villescas, filed an       tort claims against the County, alleging first that her
internal grievance with [*3] Jacobsen accusing Jackson      contractual [*5] release barring such claims is null and
of discriminatory treatment and of generally undermining    void due to the County's own breach of the agreement.
the DSS Director. Jacobsen requested an investigation of    Jackson alleges James's emails violated the County's
allegations against Jackson. Becker, administrative         non-disparagement obligations, under P 4 of the release,
assistant to Jacobsen, was also questioned during the       and that her obligation to release the County and its
investigation. The investigation's report concluded that    employees from claims is therefore null and void.
Jackson engaged in violations of County policy, created a
schism in the uppermost levels of management at DSS,             Becker brings suit under 42 U.S.C § 1983 and
and undermined Jacobsen's authority as Director. The        alleges she was discharged in retaliation for protected
report stated that Jackson and Becker enjoyed "free         speech made during the County race discrimination
reign" during the director's absence and expected           investigation. She also alleges that County Manager
promotions. Ganzlmar advised Jacobsen that "like any        Jones's emails defamed her and that the County was
CEO, [Jacobsen] is entitled to the undivided loyalty of     negligent in its supervision, retention, and investigation
his senior executive staff" and recommended termination     of DSS employees. Becker also brings claims against
of Jackson and Becker.                                      individual Defendants Villescas, Cameron, and Cayax,
                                                            alleging these individuals made defamatory statements to
     The County offered a cash payment to Jackson on        the County in an effort to induce the County to terminate
March 30, 2007 in exchange for her resignation and          her employment.
release of future claims against the County and its
employees. Jackson entered into a "Resignation &            II. DISCUSSION
Transition Agreement" ("Agreement") with the County
                                                                The Court will analyze each Plaintiff's claims
on April 5, 2007. (Doc. No. 6, Ex. A). This Agreement
                                                            individually.
required the County to "pay [e]mployee [Jackson] $
25,000" and "provide neutral comments to third parties      A. Standard of Review
and/or prospective employers about [*4] [e]mployee and
her Mecklenburg County Service" in exchange for                  "The federal rules apply to civil actions removed to
Jackson's agreement to "release[], waive, and forever       the United States district courts . . . and govern procedure
discharge[] Mecklenburg County . . . and employees . . .    after removal." Fed. R. Civ. P. 81(c). North Carolina
from any and all actions, suits, demands, damages,          substantive law applies to the elements of Plaintiffs' state
claims. . . ." Id. at 2, 3.                                 law claims but the Federal [*6] Rules of Civil Procedure
                                                            govern procedural law and North Carolina "pleading
    Eight days after Jackson's resignation, Becker          requirements, so far as they are concerned with the
submitted an email resignation to Jacobsen, nineteen        degree of detail to be alleged, are irrelevant in federal
other DSS employees, and the Board of County                court even as to claims arising under state law." Andresen
Commissioners. Becker's resignation email accused           v. Diorio, 349 F.3d 8, 17 (1st Cir. 2003) (citations
County employee Cameron of "making racist . . .             omitted); See Bartlett v. Frederick County, 246 Fed.
remarks" and accused Cameron and Villescas of openly        Appx. 201 (4th Cir. 2007) (applying the Fed. R. Civ. P. 9




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pleading standard to a removed state court complaint).                 ii. Breach of the Terms of the Contract

     Under Fed. R. Civ. P. 12(b)(6), a motion to dismiss                Jackson specifically alleges that the County violated
for failure to state a claim upon which relief may be              the "Neutral References and Nondisparagement"
granted should be allowed if it does not plead "enough             provision of the Agreement by publishing non-neutral
facts to state a claim to relief that is plausible on its face."   statements to members of the local media. The "Neutral
Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 127 S.Ct.            References and Nondisparagement" provision of the
1955, 1974, 167 L. Ed. 2d 929 (2007). The allegations in           Agreement states that
plaintiff's complaint are presumed true at this stage and
all reasonable factual inferences must be construed in                         Employer agrees to provide neutral
plaintiff's favor. Maljack Prods., Inc. v. Motion Picture                 comments and references to third parties
Ass'n of Am., Inc., 311 U.S. App. D.C. 224, 52 F.3d 373,                  and/or prospective employers about
375 (D. C. Cir.1995). However, "the court need not                        Employee and her Mecklenburg County
accept inferences drawn by plaintiff if such inferences are               service, as long as Employee complies
unsupported by the facts set out in the complaint. Nor                    with the Terms of this Agreement.
must the court accept legal conclusions cast in the form                  Employer agrees to provide prospective
of factual allegations." [*7] Kowal v. MCI Commc'ns                       employers a statement that, pursuant to
Corp., 305 U.S. App. D.C. 60, 16 F.3d 1271, 1276 (D. C.                   County Policy, only the following
Cir.1994). To survive a motion to dismiss, the factual                    information        about       Employee's
allegations in the complaint "must be enough to raise a                   Mecklenburg County employment can be
right to relief above the speculative level." Bell Atl., 127              disclosed: her dates of service, final
S.Ct. at 1965.                                                            position title, compensation history, all
                                                                          positions held (including Acting DSS
B. Plaintiff Jackson's Claims Against the County and                      Director), and performance evaluations.
Individual Defendants                                                     Employer also agrees to make only the
                                                                          following statement about Employee's
1. Breach of Contract Claim                                               separation: "Ms. Jackson resigned her
                                                                          position with the Mecklenburg County
     Jackson's breach of contract claim fails to allege
                                                                          Department [*9] of Social Services on
facts that support a plausible inference of breach of
                                                                          April 5, 2007 to attend to family matters
contract by the County. To establish a breach of contract
                                                                          and then to pursue other career
under North Carolina law, a plaintiff must show: "(1) the
                                                                          opportunities." The Parties acknowledge
existence of a valid contract and (2) breach of the terms
                                                                          that Employer will have to comply with
of [the] contract." Phelps-Dickson Builders, L.L.C. v.
                                                                          any court order compelling disclosure of
Amerimann Partners, 172 N.C. App. 427, 436, 617
                                                                          information in Employee's Personnel File
S.E.2d 664 (2005) (quoting Poor v. Hill, 138 N.C. App.
19, 26, 530 S.E.2d 838 (2000)). Although Jackson proves                   or Mecklenburg County work history. In
                                                                          the event of litigation or administrative
the existence of a valid contract, she fails to demonstrate
                                                                          appeal or challenge by or on behalf of
the breach of that contract.
                                                                          Employee       against   Employer,      the
    i. Existence of a Valid Contract                                      provisions of this paragraph 4 are no
                                                                          longer applicable to or binding upon
    A valid contract requires an agreement based upon a                   Employer. Employee agrees not to make
meeting of the minds and sufficient consideration. Creech                 disparaging comments to any third parties
v. Melnik, 147 N.C. App. 471, 477, 556 S.E.2d 587, 591                    regarding Mecklenburg County, the
(2001). Jackson meets her burden to allege the existence                  Mecklenburg County Department of
of a valid contract. The Agreement, referenced in the                     Social Services, Richard W. Jacobsen, Jr.,
complaint [*8] and attached to the Defendant's Brief in                   or any other officer or employee of either.
Support of Motion to Dismiss (Doc. No. 6, Ex. A), was                     The Parties acknowledge and agree that
signed by both parties on April 5, 2007 and was                           this provision is essential to this
supported by consideration.                                               agreement and that breach of this




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       provision by either party relieves the other            received from the defendant." York v. Cole, 254 N.C.
       party of any obligation to comply with this             224, 225, 118 S.E.2d 419 (1961); Accord Melton v.
       paragraph 4.                                            Family First Mortg. Corp., 156 N.C. App. 129, 136, 576
                                                               S.E.2d 365, 371 (2003) (citing Opsahl v. Pinehurst Inc.,
(Doc. No. 6, Ex. A at 2).                                      81 N.C. App. 56, 65, 344 S.E.2d 68 (1986)) ("[a]s a
                                                               general rule, a party is not allowed to rescind where he is
     Jackson alleges that emails sent to members of the        not in a position to put the other in status quo by restoring
local media, specifically James's email regarding              the consideration passed.")
Jackson's resignation, did "not contain neutral comments
or even the scripted comments concerning her separation             Jackson executed the release of claims on April 5,
from employment . . . as required [*10] by the                 2007 in exchange for extended medical benefits, [*12] a
[Agreement]" and therefore breached P 4 of the                 mutual non-disparagement and neutral reference
Agreement. In his email, that James wrote that his request     obligation, and the County's one-time payment of $
for information was appropriate because he did not             25,000 to her. This consideration was conferred upon
believe "it is inappropriate for the Board to be informed .    Jackson in exchange for her obligation to "release[],
. . when a long time DSS staffer accuses supervisors of        waive, and forever discharge[] Mecklenburg County . . .
racism and other activity not becoming of County               and employees . . . from any and all actions, suits,
employees." These facts, even when viewed in the light         demands, damages, claims . . . ." (Doc. No. 6, Ex. A at 2,
most favorable to Jackson, do not refer to Jackson             3). Despite arguing that the Agreement is null and void,
specifically, and therefore, do not meet the standard of a     Jackson does not offer to return the consideration.
claim for breach of the "Neutral References and                Jackson may not unilaterally retain the consideration and
Nondisparagement" provision of the Agreement.                  simultaneously attempt to rescind her corresponding
                                                               obligations under the Agreement. Allowing Jackson to
    2. 42 U.S.C. § 1983, Negligent Supervision and             proceed without pleading facts that support the return of
Retention, Defamation, and Tortious Interference with          the consideration of the bargain would create an
Contract                                                       inequitable result. Jackson is limited to contractual
                                                               damages for the County's alleged breach of contract. Her
     Jackson's claims for deprivation of constitutional        remaining claims are precluded by her remaining
rights under 42 U.S.C. § 1983, negligent supervision and       obligations under the Agreement not to sue the County
retention, and defamation against the County are barred        and its employees.
by her release of claims against the County and its
employees in the Agreement. "A release is an agreement         C. Plaintiff Becker's Claims Against the County and
to relinquish a claim or right to the person against whom      Individual Defendants
the claim exists or the right is to be enforced or
exercised." VF Jeanswear Limited Partnership v. Molina,        1. Slander and/or Defamation Per Se Against the County
320 F. Supp. 2d 412, 418 (M.D.N.C. 2004). "When a
release is executed [*11] in exchange for valuable                 A claim for defamation entails a false and
consideration, the release provides a complete defense to      defamatory statement, of or concerning plaintiff, [*13]
an action for damages." Id. at 419 (citing Talton v. Mac       which was published to a third person and caused injury
Tools, Inc., 118 N.C. App. 87, 90, 453 S.E.2d 563 (1995).      to plaintiff's reputation. See Smith-Price v. Charter
A party may seek to declare a contractual release null and     Behavioral Health Sys., 164 N.C. App. 349, 595 S.E.2d
void, and thereby rescind or cancel their obligations          778 (2004). Becker alleges that County Manager Harry
under the release, although this "right to rescind does not    Jones's statement that "sometimes what can happen and
exist where the breach is not substantial and material and     what does happen . . . there are some people where we've
does not go to the heart of the agreement." Fletcher v.        experienced instances where false claims are made by
Fletcher, 123 N.C. App. 744, 751, 474 S.E.2d 802 (1996)        employees to redirect the focus away from their own
(citing Wilson v. Wilson, 261 N.C. 40, 43, 134 S.E.2d 240      inappropriate behavior, " constitutes slander and/or
(1964)). Rescission of a contract is an equitable remedy       defamation per se.
and a plaintiff seeking rescission of his or her obligations
                                                                   i. Defamation Per Se
"must return or offer to return whatever he may have




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     Becker fails to state a claim for defamation per se.       North Carolina defamation per se standard. Manager
Although Becker correctly recognizes there is no                Harry Jones's statement is an insinuation that could refer
heightened pleading standard for defamation claims              to Becker, but if stripped of all insinuations and
under the federal rules, the complaint still must set forth     explanatory circumstances, as is required by North
facts that raise the complainant's right to relief under the    Carolina defamation law, this statement does not mention
elements of a state law defamation per se claim beyond a        Becker by name and is susceptible to two different
merely speculative level. "A publication is . . . actionable    interpretations: 1) that it is a direct reference to Becker or
per se, if, when considered alone without innuendo, (1)         2) that it is a more general statement about situations
[i]t charges that a person has committed an infamous            where employees have made false claims to redirect the
crime; (2) it charges a person with having an infectious        focus away from their own inappropriate behavior.
disease; (3) it tends to subject one to ridicule, contempt or   Becker's complaint does [*16] not allege any other type
disgrace, or (4) it tends to impeach one in his trade or        of libel claim, nor does it allege that the defamatory
profession." Ellis v. Northern Star Co., 326 N.C. 219,          statement is subject to more than one interpretation. This
388 S.E.2d 127 (1990) [*14] (citing Flake v. News Co.,          Court cannot presume that the statement is subject to one
212 N.C. 780, 787, 195 S.E. 55 (1938)). "Under North            defamatory interpretation. Accordingly, Becker's
Carolina law, slander per se is an oral communication to        defamation per se claim fails as a matter of law.
a third party which amounts to (1) an accusation that the
plaintiff committed a crime involving moral turpitude; (2)          ii. Slander per se
an allegation that impeaches the plaintiff in his trade,
                                                                     Slander per se is a false statement which is orally
business, or profession; or (3) an imputation that the
                                                                communicated to a third party and amounts to: 1) an
plaintiff has a loathsome disease." Losing v. Food Lion,
                                                                accusation that the plaintiff committed a crime involving
LLC, 185 N.C. App. 278, 648 S.E.2d 261, 263 (N.C. Ct.
                                                                moral turpitude; 2) an allegation that impeaches the
App. 2007) (citations omitted). "When pleading a
                                                                plaintiff in his trade, business, or profession; or 3) an
defamation claim, the allegedly defamatory statement
                                                                imputation that the plaintiff has a loathsome disease.
made or published by the defendant does not have to be
                                                                Barker v. Kimberly-Clark Corp., 136 N.C. App. 455, 524
set out verbatim in the plaintiff's complaint if alleged
                                                                S.E.2d 821 (N.C. Ct. App. 2000). Becker alleges that
'substantially in haec verba or with sufficient particularity
                                                                County Manager Jones' written statement issued to the
to enable the court to determine whether the statement
                                                                media which read "sometimes what can happen and what
was defamatory.'" Esancy v. Quinn, 2006 U.S. Dist.
                                                                does happen . . . there are some people where we've
LEXIS 8479, WL 322607 at 4 (W.D.N.C. 2006)
                                                                experienced instances where false claims are made by
(unpublished opinion) (quoting Stutts v. Duke Power Co.,
                                                                employees to redirect the focus away from their own
47 N.C. App. 76, 83-4, 266 S.E.2d 861 (1980)). To be
                                                                inappropriate behavior" constitutes slander per se.
actionable per se, "[d]efamatory words . . . must be
susceptible of but one meaning and of such nature that               Becker fails to state a claim for slander per se for two
the court can presume as a matter of law that they tend to      principal reasons. First, Becker does not allege the
disgrace and degrade the party or hold him up to public         statement was orally communicated to a third [*17] party
hatred, contempt or ridicule, or cause him [*15] to be          - the statement was a written one issued to the media.
shunned or avoided." Renwick v. News And Observer               Second, as the statement does not specifically mention
Pub. Co., 310 N.C. 312, 317-18, 312 S.E.2d 405 (1984)           Becker, it similarly fails to meet the standard.
(citations omitted). "In determining whether the
[publication] is libelous per se [it] must be construed         2. Slander and/or Defamation Per Se Against Individual
stripped of all insinuations, innuendo, colloquium and          Defendants
explanatory circumstances." Id. at 318. The North
Carolina Supreme Court stated that "the initial question . .        i. Defendants Villescas & Cayax
. in reviewing a claim for libel per se is whether the
publication is such to be subject to only one                        Becker fails to state a claim for defamation against
interpretation" and that it is then "for the court to say       Villescas and Cayax because the complaint does not set
whether that [interpretation] is defamatory." Id. at 319.       forth published statements in haec verba made by either
                                                                Defendant that mention or refer to Becker. Becker
    Becker's complaint fails to state a claim under the         conclusively states that "allegations made by Villescas,




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Cameron, and Cayax to Defendant County's DSS                         3. 42 U.S.C. § 1983 Constitutional Rights Violation
Director and to its Human Resources Director regarding
Plaintiff's supposed disloyalty and/or violations of                  Becker fails to state a claim for deprivation of
County policy" constitutes slander and/or defamation per         constitutional rights under § 1983. To state a claim under
se. Becker's complaint does not set forth the substance of       § 1983, a plaintiff must establish: 1) that the defendant
the alleged statements in haec verba beyond that they            "deprived [Becker] of a right secured by the Constitution
generally involved "disloyalty" and "violations of County        or laws of the United States" and 2) "that the alleged
policy." Becker's claim for individual slander and/or            deprivation was committed under color of state law."
defamation per se against Defendants Villescas and               American Mfrs. Mut. Ins. Co. v. Sullivan, 526 U.S. 40,
Cayax fails as a matter of law.                                  49-50, 119 S. Ct. 977, 143 L. Ed. 2d 130 (1999). Becker
                                                                 argues she was terminated in retaliation for
    ii. Defendant Cameron                                        constitutionally protected speech, including: 1) her
                                                                 expression of concerns regarding Jacobsen, made in
     Becker fails to state a claim for slander or libel per se   response to questions asked during a County employee
against Cameron. Becker's complaint includes mention of          investigation, and 2) her written statement to Jacobsen
two statements made [*18] by Cameron that Becker                 criticizing [*20] the County's race discrimination
alleges constitute libel. The first is an email written by       investigation.
Becker that states, "[Defendant Cameron] is free to
continue making racist, inflammatory, hateful personal                A plaintiff seeking to recover for First Amendment
remarks." The second is another email sent by Becker             retaliation must establish three elements: "[F]irst, the
that reads, "Janet Cameron, who in a November memo to            public employee must have spoken as a citizen, not as an
you accused me [Plaintiff Becker] of dishonesty and              employee, on a matter of public concern. Second, the
having a poor attitude toward team building . . . ."             employee's interest in the expression at issue must have
                                                                 outweighed the employer's interest in providing effective
     Neither of these statements meet the standard of            and efficient services to the public. Third, there must
defamatory. Becker's first email allegation does not set         have been a sufficient causal nexus between the protected
forth an allegedly defamatory statement in haec verba. It        speech and the retaliatory employment action." Smith v.
is a conclusive allegation that Cameron generally makes          Frye, 488 F.3d 263, 267 (4th Cir. 2007) (citation
"racist, inflammatory, and hateful personal remarks," and        omitted). The first two factors involve questions of law,
is insufficient to support a claim for defamation. Becker's      while the third factor involves an issue of fact. See
second email allegation also fails to set forth an               Goldstein v. Chestnut Ridge Volunteer Fire Co., 218 F.3d
actionable claim. "North Carolina cases have held                337, 352 (4th Cir. 2000).
consistently that alleged false statements made by
defendants, calling plaintiff 'dishonest' or charging that            Becker fails to allege facts that bring her claim
plaintiff was an unfaithful and an unreliable employee,          outside that of an employee speaking pursuant to official
are not actionable per se." Stutts v. Duke Power Co., 47         duties. In Garcetti v. Ceballos, 547 U.S. 410, 126 S. Ct.
N.C. App. 76, 266 S.E.2d 861, 865 (N.C. Ct. App. 1980).          1951, 164 L. Ed. 2d 689 (2006), the Supreme Court
Further, if a statement "cannot be reasonably interpreted        addressed the threshold legal requirement for a violation
as stating 'actual facts' about an individual, [*19] it          of First Amendment right to free speech that a plaintiff
cannot be the subject of a defamation suit." Daniels v.          speak as an individual on a matter of public concern, not
Metro Magazine Holding Co., 179 N.C. App. 533, 634               as a public employee regarding employee [*21] duties.
S.E.2d 586, 590 (N.C. Ct. App. 2006). Cameron's alleged          "When public employees make statements pursuant to
accusation that Becker is dishonest and possesses a poor         their official duties, the employees are not speaking as
attitude towards team-building is a statement of opinion         citizens for First Amendment purposes, and the
and is too vague to be reasonably interpreted as stating         Constitution does not insulate their communications from
"actual facts" about Becker.                                     employer discipline." Id. at 421.

     Accordingly, Becker's claims for defamation against             Becker's § 1983 claim fails because her expression
individual defendants Villescas, Cayax and Cameron fail          was made pursuant to her official duties as a County
as a matter of law.                                              employee. Becker's first series of statements regarding
                                                                 Jacobsen were made in direct response to County human




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resources personnel conducting an official race                    i. Defendants Villescas and Cayax
discrimination investigation. Every County employee had
a duty to cooperate and respond to questions solicited              Becker fails to allege facts constituting "acts"
during the official investigation. Becker's statements were    committed by Villescas or Cayax. Becker relies on the
not made as an individual citizen speaking on a matter of      allegation that "upon information and belief, Defendants
public concern, but as a response to an official               Villescas, Cameron, and Cayax intentionally induced
investigation. Additionally, Becker's written memo to          Defendant County to terminate its employment
Jacobsen criticizing the County human resources                relationship with Becker by deliberately making false
investigation fails under the second legal threshold           statements against her regarding her conduct." The
requiring Becker's interest in the expression to outweigh      complaint does not allege facts identifying the content,
the County's interest in providing effective public            time, or actual occurrence of false statements and fails to
services. There is a compelling interest to the community      put Villescas and Cayax on notice of the basis of Becker's
for the DSS to promptly and accurately investigate claims      claim. This failure to plead facts instead of conclusory
of racial discrimination, [*22] in order to provide            allegations makes Becker's claim of tortious interference
effective public services. The County is legally obligated     with [*24] contract against Villescas and Cayax merely
to promptly and efficiently resolve claims of racial           speculative, and it fails as a matter of law.
discrimination in the public workplace by a wealth of
                                                                   ii. Defendant Cameron
regulatory law. Becker's interest in her statement, that the
investigation was a "witch hunt," does not outweigh the             Becker likewise fails to state a claim for tortious
County's interest in providing effective public services.      interference with contract against Cameron. To establish
Becker's second allegation of protected expression             a claim for tortious interference, it is not enough that a
therefore fails as a matter of law.                            plaintiff plead a defendant has taken some action which
                                                               has led to the termination of her employment. A plaintiff
4. Tortious Interference with Contract
                                                               must affirmatively allege that the defendant's intent was
     "The elements of tortious interference are: (1) the       to bring about the termination. See White v. Cross Sales
existence of a valid contract between plaintiff and a third    & Engineering Co., 177 N.C. App. 765, 629 S.E.2d 898
party; (2) knowledge by defendant of the contract; (3)         (N.C. Ct. App. 2006). The November memo written by
acts by defendant to intentionally induce the third party      Defendant Cameron allegedly accused Becker of
not to perform the contract; (4) defendant's acts were         "dishonesty" and of having a "poor attitude towards team
committed without justification; and (5) actual damage to      building." Becker fails to offer any evidence that
the plaintiff." United Lab. v. Kuykendall, 322 N.C. 643,       Cameron wrote the memo with the intent to bring about
661, 370 S.E.2d 375 (1988). "A plaintiff may maintain a        Becker's termination. With regard to the fourth element
claim for tortious interference with contract even if the      of tortious interference, in alleging that the statement was
employment contract is terminable at will." Esposito v.        made "without justification" on the ground that Cameron
Talbert & Bright, Inc., 181 N.C. App. 742, 745, 641            deliberately made false statements, as analyzed above,
S.E.2d 695 (2007) (citations omitted). "As a general rule,     Cameron's memo represented a statement of opinion and
non-outsiders [to the contract] often enjoy qualified          is therefore not capable of being judged for accuracy in
immunity from [*23] liability for inducing their               terms of being true or false.
corporation or other entity to breach its contract with an
                                                                    Accordingly, Becker fails to state [*25] a claim for
employee," although "[t]he qualified privilege of a
                                                               tortious interference with contract against any individual
non-outsider is lost if exercised for motives other than
                                                               defendant.
reasonable, good faith attempts to protect the
non-outsider's interests in the contract interfered with."     5. Negligent Supervision and Retention
Bloch v. The Paul Revere Life Ins. Co., 143 N.C. App.
228, 240, 547 S.E.2d 51 (2001) (citations omitted).                 Becker fails to state a claim for negligent supervision
Defendants argue that Becker fails to allege sufficient        and retention against the County. To state a claim for
facts to support the second and third elements of her          negligent supervision and retention, Plaintiff Becker must
claim.                                                         sufficiently allege: "(1) that an incompetent employee
                                                               committed a tortious act resulting in injury to the




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                                          2008 U.S. Dist. LEXIS 104410, *25



plaintiff; and (2) that prior to the act, the employer knew   their complaint." The Federal Rules of Civil Procedure
or had reason to know of the employee's incompetency."        allow Plaintiffs "to amend [their] pleading once as a
Smith v. First Union Nat. Bank, 202 F.3d 234, 250 (4th        matter of course . . . before being served with a
Cir. 2000) (citing Hogan v. Forsyth Country Club Co., 79      responsive pleading . . . ." Fed. R. Civ. P. 15(a).
N.C. App. 483, 340 S.E.2d 116 (1986)).
                                                                   Jackson and Becker were free to amend their
     Even if this Court agreed with Becker's claim that       complaint at any time before the County filed its Motion
defamation per se against Cameron constitutes an              to Dismiss and had not yet served a responsive pleading.
allegedly tortious act committed by a County employee,        See Smith v. Blackledge, 451 F.2d 1201, 1203 n.2 (4th
Becker fails to allege that the County knew or had reason     Cir. 1971) (holding that a motion to dismiss is not a
to know of Cameron's incompetency prior to this tortious      responsive pleading for purposes of Rule 15(a)). Granting
act. Although the complaint generally alleges the County      leave of Court to amend Plaintiffs' complaint when the
had "reason to know the allegations" that Cameron's           Rules do not require such leave and when such a request
allegations were false, this only addresses the County's      [*27] is expressly conditioned on this Court's evaluation
knowledge of incompetency regarding the actual tortious       of particular deficiencies in the complaint, constitutes an
act; and does not address the threshold requirement that      impermissible advisory opinion and Plaintiffs' conditional
the County [*26] knew or had reason to know of the            motion for leave is denied.
employee's incompetency prior to the tortious act. Absent
any allegation by Becker that the County knew or had              IT IS THEREFORE ORDERED that the County's
reason to know of Cameron's incompetency prior to the         Motion To Dismiss with regard to all causes of action
allegedly tortious act (Defendant Cameron's November          against both the County and individual defendants is
memo), Becker fails to state a claim for negligent            hereby GRANTED.
supervision and retention.
                                                                  Signed: July 30, 2008
D. Plaintiffs' Alternative Motion for Leave to Amend
                                                                  /s/ Graham C. Mullen
Complaint
                                                                  Graham C. Mullen
     Jackson and Becker alternatively state that "should
this Court find the complaint to be insufficiently pled in        United States District Judge
any respect, Plaintiffs request leave of court to amend




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                                            23 of 100 DOCUMENTS

               RDLG, LLC, Plaintiff, Vs. RPM GROUP, LLC; RPM GROUP BROKERAGE,
              LLC; FRED M. LEONARD, III; JESSICA LEWIS LEONARD; JASON BENTON;
                NICK JAMES; and DEXTER HUBBARD, Defendants. RPM GROUP, LLC,
                     Plaintiff, Vs. RDLG, LLC; and GLENN G. GOLDAN, Defendants.

                           1:10cv204 consolidating 1:10cv204 & 1:10cv2331:10cv233

                 UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            NORTH CAROLINA, ASHEVILLE DIVISION

                                         2010 U.S. Dist. LEXIS 142881


                                         December 21, 2010, Decided
                                          December 21, 2010, Filed

SUBSEQUENT HISTORY: Accepted by, Objection               Lewis-Leonard, Counter Claimants: Tikkun               A.S.
overruled by, Complaint dismissed at RDLG, LLC v.        Gottschalk, LEAD ATTORNEY, Asheville, NC.
RPM Group, LLC, 2011 U.S. Dist. LEXIS 47514
(W.D.N.C., May 2, 2011)                                  JUDGES: Dennis L. Howell, United States Magistrate
                                                         Judge.

COUNSEL: [*1] For RDLG, LLC, Plaintiff, Counter          OPINION BY: Dennis L. Howell
Defendant: Daniel J. Finegan, Ross Robert Fulton, LEAD
ATTORNEYS, G. Kirkland Hardymon, Rayburn, Cooper         OPINION
& Durham, P.A., Charlotte, NC.

For RPM Group, LLC, RPM Group Brokerage, LLC,            MEMORANDUM AND RECOMMENDATION
Fred M. Leonard, III, also known as Chip Leonard,
Jessica Lewis-Leonard, Jason Benton, Nick James,              THIS MATTER is before the court on defendants
Defendants: Keith Lane Edmiston, LEAD ATTORNEY,          RDLG, LLC's and Glenn G. Goldan's (hereinafter
PRO HAC VICE, Gribble Carpenter & Associates,            "defendants") Motion to Dismiss (#30).1 On November
PLLC, Maryville, TN; Tikkun A.S. Gottschalk, LEAD        15, 2010, plaintiff RPM Group, LLC (hereinafter
ATTORNEY, Asheville, NC.                                 "plaintiff") filed its Response (#31, at p. 32), and [*2] on
                                                         November 29, 2010, the defendants filed their Reply
For Dexter Hubbard, Defendant: Charles R. Brewer,        (#31, at p. 41). Such motion is now ripe for
Tikkun A.S. Gottschalk, LEAD ATTORNEYS,                  consideration.2 Having carefully considered such
Asheville, NC; Christopher Garrison Lewis, LEAD          motions, the briefs, and the Complaint, the undersigned
ATTORNEY, Teague Campbell Dennis & Gorham,               respectfully submits the following findings, conclusions,
Raleigh, NC.                                             and recommendation.3

For Jason Benton, RPM Group Brokerage, LLC, Nick                1 The Motion to Dismiss (#27) filed December
James, RPM Group, LLC, Fred M. Leonard, III, Jessica            6, 2010, is not ripe for consideration, but is




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       directed to counterclaims which mirror the claims        would, thereafter, recoup their costs in a similar manner.
       discussed herein. The doctrine of law of the case        Compl., at ¶¶ 12-13. After both parties' costs were
       may, respectfully, provide resolution of that            recouped, the plaintiff would then be entitled to receive a
       motion once the district court has resolved the          commission of 22 percent (22%) of the gross sales price
       motion that is the subject of this recommendation.       of each lot closed. Id., at ¶ 13.
       2 These actions were consolidated, and docket
       entry numbers cited reference the pleadings in the            The plaintiff alleges that in the run-up to the sales
       consolidated case.                                       event, defendants failed to make lot improvements
       3 The court notes that the plaintiff did not allege      required "in accordance with the approved HUD form,"
       in its Complaint the names of its own members or         and that this failure eventually resulted in fewer lot sales
       the members of the defendants, both of which are         at lower prices. Id., at ¶ 14. It further alleges that, beyond
       LLCs. See Carden v. Arkoma Associates, 494               failing to make improvements to the lots, the defendants
       U.S. 185, 195, 110 S. Ct. 1015, 108 L. Ed. 2d 157        failed to otherwise fulfill their obligations under the
       (1990); Mecklenburg County v. Time Warner                marketing agreement, including failing to assist plaintiff
       Entertainment-Advance/ Newhouse Partnership,             in pricing the lots, failing to provide plats, failing to
       2010 U.S. Dist. LEXIS 6215, 2010 WL 391279               reimburse marketing costs, and failing "to pay
       (W.D.N.C. Jan. 26, 2010). In the Notice of               commissions to RPM." Id., at ¶ 16.
       Removal (#1), the defendants state that RDLG,
                                                                B. Plaintiff's Claims for Relief
       LLC, has two members: the first is a California
       LLC consisting of 31 members, [*3] all of which               In its First Claim for Relief, the plaintiff asserts a
       are residents of either California or New Jersey;        cause of action for breach of contract. Id., at ¶¶ 17-19. It
       and that the second member is a California               contends that the defendants breached the marketing
       resident acting as a receiver for a California           agreement by failing to make the property ready for sale,
       corporation. It goes on to state that the plaintiff is   failing to cooperate, and failing to make information and
       also an LLC, the members of which are all                documentation available, [*5] all of which it contends
       citizens and residents of Tennessee. Notice of           were required by the agreement. Id., at ¶¶ 17-18. The
       Removal, at ¶¶ 8-9.                                      plaintiff projects that had defendants honored the
                                                                agreement, it would have sold a substantial majority of
FINDINGS AND CONCLUSIONS
                                                                the 102 available lots, rather than the 18 lots it actually
I. Background                                                   sold, which would have resulted in "commissions to RPM
                                                                in excess of $800,000.00." Id., at ¶ 18. It alleges that it
A. Plaintiff's Contentions                                      sustained damages of at least $212,500.00 in
                                                                un-reimbursed marketing expenses, incurred additional
     This action concerns a marketing agreement for the         damages when it performed the defendants' obligations in
sale of the remaining residential building lots in a            making the properties ready for sale, lost commissions,
development located in McDowell County, North                   and sustained other damages. Id., at ¶ 19.
Carolina. In the summer of 2010, defendant RDLG, LLC,
a California land development company, hired the                     In its Second Claim for Relief, the plaintiff asserts a
plaintiff, a real estate marketing firm located in              cause of action for tortious interference with the contract
Tennessee, to market and then sell during an on-location        asserted in the first claim. Id., at ¶¶ 20-25. In this cause of
sales event the remaining, unsold lots in defendants'           action, plaintiff alleges that the corporate defendant was
development, which is known as "Linville Falls                  being "directed and controlled" by defendant Glenn G.
Mountain Club and Preserve." See Complaint (hereinafter         Goldan (hereinafter "Mr. Goldan" or "Defendant
"Compl."), Ex. 1 ("Marketing Agreement").                       Goldan"), id., at ¶ 20, that Mr. Goldan knew of the
                                                                agreement, id., at ¶ 21, and that despite his knowledge of
     Plaintiff alleges in its Complaint that the parties        the agreement, he personally interfered with the corporate
agreed to split the upfront $425,000.00 marketing costs,        defendant's performance of its obligations under the
with the plaintiff first recouping its costs by receiving       marketing agreement, ordering [*6] agents of such
100 percent (100%) of the net proceeds of lots sales until      defendant to not perform their obligations under the
their costs were reimbursed and that [*4] defendants            marketing agreement. Id., at ¶ 22.4 Further, the plaintiff




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alleges that Mr. Goldan interfered with the contract by           commissions because it is not a licensed real estate
ordering the closing attorney "not to withhold                    broker in North Carolina. Id. As to the Second Claim for
commissions due RPM...." Id., at ¶ 23.5                           Relief, tortious interference [*8] with contract asserted
                                                                  against Mr. Goldan, defendants contend that no cause of
        4 The court notes that the plaintiff stated in its        action is asserted because (1) Mr. Goldan is an officer of
        complaint that Mr. Goldan "can be served with             the corporate defendant, (2) no allegation is made that
        process at Reprop Financial Mortgage Investors,           Mr. Goldan took any action for his personal benefit, and
        LLC, . . . ." Compl., at ¶ 2. In their Notice of          (3) there are no allegations that the corporate veil should
        Removal, the defendants states that Reprop                be pierced. Id. As to the Third Cause of Action,
        Financial Mortgage Investors, LLC, is one of the          defamation, defendants contend that the allegations are
        members of RDLG, LLC. Notice of Removal                   insufficient under Rule 12(b)(6) because plaintiff fails to
        (#1), at ¶ 6(a). Finally, review of the "Civil            allege publication of any defamatory statement to any
        Summons" issued by the state court reveals that           third party and fail to allege any statement with such
        process was issued for Mr. Goldan at his business         detail as to permit the court to determine whether such
        address. No return of service as to Mr. Goldan            statement could plausibly be defamatory. Id., at p. 2.
        was provided in the removal package and the
        court notes the absence of such proof of service          III. Applicable Standards
        subsequent to removal. See Fed.R.Civ.P. 4(e).
        5 The court assumes that plaintiff meant to state         A. Rules 12(b)(5)
        that the closing attorney was directed not to pay
                                                                       On the day he removed this action, Defendant
        the commissions.
                                                                  Goldan contended that he had not been properly served
       In its Third Claim for Relief, plaintiff asserts a cause   with process and is, therefore, entitled to dismissal under
of action for defamation. Id., at ¶¶ 26-28. It alleges that       Rule 12(b)(5). Where a motion to dismiss is filed based
Mr. Goldan "individually and on behalf of RDLG, [*7]              on insufficient process or insufficient service of process,
has slandered and otherwise disparaged RPM with false             affidavits and other materials outside the pleadings may
statements concerning . . . the professionalism, ability,         be properly submitted and considered. When a challenge
honesty, and integrity of RPM." Id., at ¶ 26. It goes on to       to the adequacy or lack of process is made,
allege damages "arising out of lost business opportunities
. . . ." Id., at ¶ 27.                                                      the party on whose behalf service [*9]
                                                                         is made has the burden of establishing its
   Plaintiff seeks compensatory as well as punitive                      validity when challenged; to do so, he
damages.                                                                 must demonstrate that the procedure
                                                                         employed satisfied the requirements of the
II. The Motion to Dismiss                                                relevant portions of Rule 4 and any other
                                                                         applicable provision of law.
     On the same day this action was removed,
defendants moved to dismiss the Complaint in its                  Light v. Wolf, 816 F.2d 746, 751, 259 U.S. App. D.C.
entirety, citing Rule 12(b)(5) and Rule 12(b)(6), Federal         442 (D.C.Cir.1987) (internal quotations omitted). Where
Rules of Civil Procedure. Defendants first contend that           the procedural requirements of sufficient process and
the Complaint should be dismissed as to Mr. Goldan                service of process are not satisfied, a court lacks power to
under Rule 12(b)(5) for insufficient service of process,          assert personal jurisdiction over a defendant. Gorman v.
arguing that plaintiff failed to serve Mr. Goldan with the        Ameritrade Holding Corp., 293 F.3d 506, 514, 352 U.S.
Summons and Complaint as required by Rule 4. Motion               App. D.C. 229 (D.C.Cir.2002). Inasmuch as the
to Dismiss (#2), at p. 1.                                         sufficiency of process and service of process concern the
                                                                  court's jurisdiction, consideration of materials outside the
    Defendants also seek dismissal as to all claims
                                                                  pleadings, such as affidavits, is appropriate. Dimet
asserted by plaintiff, contending that plaintiff fails to state
                                                                  Proprietary, Limited v. Industrial Metal Protectives, 109
a claim under Rule 12(b)(6). As to the First Claim for
                                                                  F.Supp. 472 (D. Del. 1952).
Relief, breach of contract, defendants argue that plaintiff
cannot state a cause of action seeking lost or unpaid             B. Rule 12(b)(6)




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     Until recently, a complaint could not be dismissed        determined that Rule 8 "demands more than an
under Rule 12(b)(6) unless it appeared certain that            unadorned,       the      defendant-unlawfully-harmed-me
plaintiff could prove no set of facts which would support      accusation." Id., S.Ct., at 1949. The Court explained that,
its claim and entitle it to relief. Neitzke v. Williams, 490   "to survive a motion to dismiss, a complaint must contain
U.S. 319, 109 S. Ct. 1827, 104 L. Ed. 2d 338 (1989);           sufficient factual matter, accepted as true, to 'state a claim
Conley v. Gibson, 355 U.S. 41, 78 S. Ct. 99, 2 L. Ed. 2d       to relief that is plausible on its face.'" Id. (citing
80 (1957). This "no set of facts" standard has been            Twombly, supra; emphasis added). What is plausible is
specifically abrogated by the Supreme Court in [*10]           defined by the Court:
recent decisions.
                                                                          [a] claim has facial plausibility when the
     First, in Bell Atlantic Corp. v. Twombly, 550 U.S.                plaintiff pleads sufficient factual content
544, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007), the Court              that allows the court to draw the
held that the "no set of facts" standard first espoused in             reasonable inference that the defendant is
Conley, supra, only describes the "breadth of opportunity              liable for the misconduct alleged.
to prove what an adequate complaint claims, not the
minimum adequate pleading to govern a complaint's              Id. This "plausibility standard" [*12] requires "more than
survival." Id., at 563. The Court specifically rejected use    a sheer possibility that a defendant has acted unlawfully."
of the "no set of facts" standard because such standard        Id. Thus, a complaint falls short of the plausibility
would improperly allow a "wholly conclusory statement          standard where a plaintiff pleads "facts that are 'merely
of claim" to "survive a motion to dismiss whenever the         consistent with' a defendant's liability . . . ." Id. While the
pleadings left open the possibility that a plaintiff might     court accepts plausible factual allegations made in a
later establish some 'set of [undisclosed] facts' to support   complaint as true and considers those facts in the light
recovery." Id., at 561 (alteration in original).               most favorable to plaintiff in ruling on a motion to
                                                               dismiss, a court "need not accept as true unwarranted
     Post Twombley, to survive a Rule 12(b)(6) motion to       inferences, unreasonable conclusions, or arguments."
dismiss, a plaintiff must allege facts in their complaint      Eastern Shore Mkt.'s Inc. v. J.D. Assoc.'s, LLP, 213 F. 3d
that "raise a right to relief above the speculative level."    175, 180 (4th Cir. 2000).
Id., at 555.
                                                                    In sum, when ruling on a Rule 12(b)(6) motion, "a
          [A] plaintiff's obligation to provide the            judge must accept as true all of the factual allegations
       "grounds" of his "entitle[ment] to relief"              contained in the complaint." Erickson v. Pardus, 551 U.S.
       requires more than labels and conclusions,              89, 94, 127 S. Ct. 2197, 167 L. Ed. 2d 1081 (2007) (per
       and a formulaic recitation of the elements              curiam) (citations omitted). A complaint "need only give
       of a cause of action will not do . . . .                the defendant fair notice of what the claim is and the
                                                               grounds upon which it rests." Id., at 93 (alteration and
                                                               internal quotation marks omitted). However, to survive a
     Id. (second alteration in original; citation omitted).    motion to dismiss, the complaint must "state[ ] a
Further, a complaint will not survive Rule 12(b)(6) [*11]      plausible claim for relief" that "permit[s] the court to
review where it contains "naked assertion[s] devoid of         infer more than the mere possibility of misconduct" based
further factual enhancement." Id., at 557. Instead, a          upon "its judicial [*13] experience and common sense."
plaintiff must now plead sufficient facts to state a claim     Iqbal, 129 S. Ct. at 1950. While a plaintiff is not required
for relief that is "plausible on its face." Id., at 570        to plead facts that constitute a prima facie case in order to
(emphasis added).                                              survive a motion to dismiss, see Swierkiewicz v. Sorema
                                                               N.A., 534 U.S. 506, 510-15, 122 S. Ct. 992, 152 L. Ed.
    While the Court was clear in Twombly that Conley
                                                               2d 1 (2002), "[f]actual allegations must be enough to
was no longer controlling, see Twombly, 550 U.S. at 563,
                                                               raise a right to relief above the speculative level,"
and Felman Production Inc. v. Bannai, 2007 U.S. Dist.
                                                               Twombly, 550 U.S. at 555.
LEXIS 81365, 2007 WL 3244638, at *4 (S.D.W.Va.
2007), it again visited the Rule 12(b)(6) pleading             IV. Discussion
standard in Ashcroft v. Iqbal, U.S. , 129 S.Ct. 1937,
173 L. Ed. 2d 868 (May 18, 2009). In Ashcroft, the Court




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A. Rule 12(b)(5)                                                     within 120 days of the filing of the state
                                                                     court complaint, and therefore, the
      Defendants contend that this court should dismiss the          Plaintiff's attempts at service under [*15]
Complaint as to Defendant Goldan because the plaintiff               federal law were not timely. The Plaintiff
failed to serve such defendant. In response, the plaintiff           argues, on the other hand, that the time
contends that the defendants's Motion to Dismiss under               limit for service under Rule 4(m) should
Rule 12(b)(5) is premature inasmuch as the 120 days                  run instead from the date of removal.
allowed for service under Rule 4 has not run. Defendants
fail to address this responsive argument in their Reply.                  The Middle District of North Carolina
                                                                     addressed this very issue in Motsinger v.
     The Complaint was filed in state court on September             Flynt, 119 F.R.D. 373 (M.D.N.C.1988). In
20, 2010, see Notice of Removal (#1), at ¶ 1, this action            that case, the defendant argued that the
was removed on October 14, 2010, id., and the Motion to              plaintiff's attempts to serve him after
Dismiss was filed the same day. The Federal Rules of                 removal were untimely because Rule 4(m)
Civil Procedure apply to removed actions. See                        required the plaintiff to serve him within
Fed.R.Civ.P. 81(c)(1) ("These rules apply to a civil action          120 days after the complaint was filed in
after it is removed from a state court."). Rule 4(m),                state court. The Court rejected the
therefore, provides the time for service, [*14] and                  defendant's argument, holding that the
provides in relevant part, as follows:                               Federal Rules of Civil Procedure applied
                                                                     to cases only after removal. Id. at 376-77
         (m) Time Limit for Service.                                 (citing Fed.R.Civ.P. 81(c)). The Court
          If a defendant is not served within 120                    further noted that to apply the federal rules
       days after the complaint is filed, the court                  retroactively to state court pleadings that
       -- on motion or on its own after notice to                    were otherwise properly filed under state
       the plaintiff -- must dismiss the action                      law "may create real unfairness." Id. at
       without prejudice against that defendant or                   377. As the Court explained:
       order that service be made within a
       specified time.
         ***                                                                   [I]t is possible that 120
                                                                            days from filing of the
Fed.R.Civ.P. 4(m).                                                          complaint       could   pass
                                                                            without a defendant being
    The issue of the time for service of parties after                      served. Then, having notice
removal of an action from state court has been                              of the action, a defendant
specifically addressed by the district court. In Patterson v.               could remove it to federal
Brown, 2008 U.S. Dist. LEXIS 9312, 2008 WL 219965                           court and immediately
(W.D.N.C. Jan. 24, 2008), amended Patterson ex rel.                         move        for     dismissal
Estate of Hemphill v. Brown, 2008 U.S. Dist. LEXIS                          pursuant to Rule 4(j) [now
24195, 2008 WL 619374 (W.D.N.C. Mar. 03, 2008), and                         Rule 4(m) ], Fed.R.Civ.P.
reversed in part on other grounds Patterson v. Whitlock,                    The       plaintiff    would
392 Fed. Appx. 185, 2010 WL 3303749 (4th Cir. 2010),6                       immediately be in a [*16]
Honorable Martin Reidinger, United States District                          predicament since 120 days
Judge, held as follows:                                                     would have passed since
                                                                            the filing of the original
          The Federal Rules of Civil Procedure                              complaint and he would not
       require that a defendant be served "within                           have made a motion for an
       120 days after the complaint is filed." See                          extension of time to serve
       Fed.R.Civ.P. 4(m). The Defendants argue                              process.
       that this provision means that the Plaintiff
       was required to serve them with process




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          [I]d. at 377 n. 5. The Court concluded                    the electronic docket through incorporation of the
       that allowing a plaintiff 120 days from the                  Westlaw citations.
       date of removal to serve process "provides
       an      appropriate      balance      which               The motion is, therefore, without merit and the
       accommodates the federal interest in                  undersigned is compelled to recommend that it be denied.
       insuring that process will be timely served
                                                             B. Rule 12(b)(6)
       yet does not penalize the plaintiff or give
       undue advantage to the defendant...." Id. at          1. First Cause of Action: Breach of Contract
       377.
                                                                  Defendants contend that the first cause of action for
            Other courts that have addressed this            breach of contract [*18] must be dismissed because
       issue have also held that the 120-day time            plaintiff, which is not a licensed real estate broker in
       period for service of process in a removal            North Carolina, seeks to enforce a contract for
       action runs from the date of the removal,             commissions stemming from the sale of real property in
       not the date that the state court complaint           North Carolina. In response, plaintiff alleges that
       was originally filed. See Cowen, 411                  defendants' motion is premature inasmuch as the alleged
       F.Supp.2d at 721; G.G.G. Pizza, Inc. v.               illegality or invalidity of a contract is an affirmative
       Domino's Pizza, Inc., 67 F.Supp.2d 99,                defense and that it actually employed licensed brokers to
       102 (E.D.N.Y.1999); Eccles v. National                conduct the sales. Response (#12), at p. 2.
       Semiconductor Corp., 10 F.Supp.2d 514,
       519 (D.Md.1998); see also Russo v.                         In support of its argument that the sharing of
       Prudential Ins. Co., 116 F.R.D. 10, 12                commissions between licensed and unlicensed brokers of
       (E.D.Pa.1986)      (rejecting    retroactive          real estate does not make a contract illegal, plaintiff cites
       application of Rule 4's 120-day period to             the court to Furr v. Fonville Morisey Realty, Inc., 130
       service effected prior to removal).                   N.C.App. 541, 545, 503 S.E.2d 401 (1998). Defendants
                                                             have distinguished such case from the facts here. Reply
           The Court finds the reasoning of                  (#13), at 5. More importantly, they have pointed out that
       Motsinger and the other above-cited                   such case has no legal significance in this case in light of
       decisions to be persuasive. In the present            post-Furr amendments to the North Carolina real estate
       case, [*17] the action was removed on                 broker licensure statute. Amended the year after Furr was
       November 17, 2006. Therefore, the                     handed down,7 the governing statute applicable to this
       Plaintiff had until March 19, 2007 to serve           case provides as follows:
       process on the Defendants pursuant to the
       Federal Rules of Civil Procedure.                                 § 93A-1. License required of real
                                                                    estate brokers.
Patterson, 2008 U.S. Dist. LEXIS 9312, 2008 WL                         From and after July 1, 1957, it shall be
219965, at 5 -6. The decision of the district court makes           unlawful for any person, partnership,
clear that (1) Rule 4(m) provides 120 days for service of           [*19] corporation, limited liability
process in an action removed from state court and (2) that          company, association, or other business
the 120 days begins to run not from the date the                    entity in this State to act as a real estate
Complaint was filed, but from the date the action was               broker, or directly or indirectly to engage
removed to federal court. In this case, the action was              or assume to engage in the business of real
removed on October 14, 2010, and the defendants filed               estate broker or to advertise or hold
their Motion to Dismiss under Rule 12(b)(5) that same               himself or herself or themselves out as
day. Clearly, under Patterson, the plaintiff had 120 days           engaging in or conducting such business
from such date to serve Mr. Goldan, providing no factual            without first obtaining a license issued by
or legal basis for relief under Rule 12(b)(5).                      the North Carolina Real Estate
                                                                    Commission (hereinafter referred to as the
       6 Due to the limits of Electronic Case Filing,
                                                                    Commission), under the provisions of this
       copies such unpublished decisions are placed in
                                                                    Chapter. A license shall be obtained from




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       the Commission even if the person,                            sharing arrangement-similar to the one in
       partnership, corporation, limited liability                   the present case-between an unlicensed
       company, association, or business entity is                   out-of-state real estate agent and a licensed
       licensed in another state and is affiliated or                North Carolina real estate broker.
       otherwise associated with a licensed real
       estate broker in this State.                           Id., at n. 4 (citation to Furr omitted). The court concluded
                                                              that "the arrangement in this case is not one that is
N.C.Gen.Stat. 93A-1 (2010)(emphasis added). At the            sanctioned by the North Carolina real estate laws." Id., at
time Furr was decided, the same statute provided as           584. The plaintiff's reliance on Furr is, therefore,
follows:                                                      misplaced. Plaintiff's alleged association of licensed
          ... it shall be unlawful for any person, ...        brokers in conducting the sale of real property was
       corporation ... in this State to act as a real         clearly insufficient as a matter of law. Absent plaintiff
       estate broker or real estate salesman, or              being licensed in this state, it was simply unlawful for it
       directly or indirectly to engage or assume             to sell real property it did not own in North Carolina.
       to engage in the business of real estate               Plaintiff lacks standing to demand those commissions in
       broker or real estate salesman or to                   this action, and plaintiff simply cannot assert a plausible
       advertise or hold himself or themselves                claim for breach of contract under such circumstances.
       out as engaging in or conducting [*20]
       such business without first obtaining a                     The undersigned will now turning back to the
       license issued by the North Carolina Real              original question posed: whether the breach of contract
       Estate Commission ... under the provisions             claim is susceptible to dismissal under Rule 12(b)(6) or
       of this Chapter.                                       whether contract invalidity is an affirmative defense more
                                                              properly considered under Rule 56 or at trial. While the
N.C.Gen. Stat. 93A-1 (as reported in Furr, 130 N.C.App.       Federal [*22] Rules of Civil Procedure clearly govern
at 545). Noticeably, the emphasized language in the           this removed action, the the North Carolina Supreme
current law - - the law applicable at the time the disputed   Court has long held that
contract was entered into - - was absent from the 1998
version of the law.                                                    [w]hen the complaint states a valid claim
                                                                     but also discloses an unconditional
       7 The statute was again amended in 2005.                      affirmative defense which defeats the
                                                                     asserted claim ... the motion will be
     The current statute makes it unlawful for any person            granted and the action dismissed.
or entity to either directly or indirectly engage in the
business of real estate broker without a North Carolina       Skinner v. E. F. Hutton & Co., 314 N.C. 267, 270, 333
license, and makes it clear that mere association or          S.E.2d 236 (1985). Thus, the distinction between
affiliation of a licensed broker is insufficient. Id. This    affirmative defense and failure to state a claim is one
distinction between Furr and the current licensure            without consequence where, as here, defendants come
requirement has been recently addressed by this court. In     forward with an unconditional affirmative defense
McAllister v. Hunter, 634 F. Supp. 2d 577 (W.D.N.C.           derived from the Complaint. Clearly, plaintiff has not
2009), Honorable Richard L. Voorhees, United States           alleged in its Complaint that it was, at any time relevant
District Judge, held that an association of an unlicensed     to the contract it seeks to enforce, a licensed North
entity with a licensed entity is contrary to the present      Carolina real estate broker. It is undisputed that acting as
version of the statute, noting as follows:                    a North Carolina real estate broker without a North
                                                              Carolina license is a Class 1 misdemeanor. N.C. Gen.
            The purpose of this provision is                  Stat. § 93A-8. North Carolina law specifically forbids
       especially clear in light of the                       enforcement of contracts involving criminal acts:
       circumstances surrounding its enactment.                          If the statute, so construed, makes the
       The provision was adopted [*21] the year                      doing of an act a criminal offense, one
       after a North Carolina appeals court                          who has contracted to do the forbidden act
       decision declared legal a commission                          may not, after performing his contract, sue




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       in the courts to recover the agreed                      an officer of a member of a contracting party, and there is
       consideration [*23] for such performance.                simply no allegation that he induced any anyone other
                                                                than his own business associates to not perform a contract
Raab & Co. v. Independence Corp., 9 N.C. App. 674,              that is patently unlawful. The apparent implausibility of
677, 177 S.E.2d 337 (1970) (citations and corresponding         Mr. Goldan being a stranger to the contract is made
quotation marks omitted). Even if the argument                  [*25] manifest by the allegations of plaintiff's Complaint,
defendants make in the Motion to Dismiss were                   wherein it alleges that Mr. Goldan "can be served with
construed as an attempt to resolve an affirmative defense       process at Reprop Financial Mortgage Investors, LLC, . .
under Rule 12(b)(6) rather than at summary judgment or          . ." Compl., at ¶ 2. Further, plaintiff does not dispute or
trial, North Carolina law makes it clear that the               challenge the statement that Reprop Financial Mortgage
affirmative defense of illegality is unconditional and that     Investors, LLC, is one of the members of RDLG, LLC.
plaintiff is attempting to have this court enforce a            See Notice of Removal (#1), at ¶ 6(a).
contract which is, on its face, not just invalid, but
unlawful as a matter of criminal law.                                Third, reading the pleadings in a light most favorable
                                                                to plaintiff, it is possible that plaintiff is attempting to
    The undersigned is compelled, therefore, to                 allege tortious inference with contract by a corporate
recommend that the First Cause of Action for Breach of          insider, a claim which North Carolina common law
Contract be dismissed.                                          recognizes. The pleading requirements for tortious
                                                                interference by an "insider" are applicable:
B. Tortious Interference With Contract
                                                                            In the context of interference with
     Plaintiff next asserts a cause of action for tortious             contract by an insider, however, the
interference with contract. Although not served,                       element that the defendant acted without
Defendant Goldan moves to dismiss this claim because                   justification is potentially vitiated by the
(1) a cause of action for tortious interference with an                defendant's corporate position. Officers,
unlawful contract will not lie, (2) Mr. Goldan is an officer           directors,     shareholders,    and    other
either of the corporate defendant or one of the members                corporate fiduciaries have a "qualified
of the contracting parties, and (3) no allegation is made              privilege to interfere with contractual
that, as a corporate officer, he interfered with contract for          relations between the corporation and a
his own personal rather [*24] than corporate gain.                     third party." "The acts or a corporate
                                                                       officer in inducing his company to sever
     The elements of tortious interference with contract
                                                                       contractual relations with a third party are
are: "(1) the existence of a valid contract between
                                                                       presumed to have been done in the [*26]
plaintiff and a third party; (2) knowledge by defendant of
                                                                       interest of the corporation."
the contract; (3) acts by defendant to intentionally induce
the third party not to perform the contract; (4) defendant's
acts were committed without justification; and (5) actual       Embree Constr. Group, Inc. v. Rafcor, Inc., 330 N.C.
                                                                487, 498, 411 S.E.2d 916 (1992)(internal citations
damage to the plaintiff." Barker v.Kimberly-Clark Corp.,
                                                                omitted). To survive Rule 12(b)(6) in this context,
136 N.C.App. 455, 462, 524 S.E.2d 821 (2000) (citing
                                                                however, plaintiff must allege facts that when taken as
Childress v. Abeles, 240 N.C. 667, 674, 84 S.E.2d 176
                                                                true could plausibly lead a finder of fact to conclude that
(1954)). In this case, the cause of action for tortious
                                                                the actions taken were for such defendant's personal
interference with contract fails at both the first and third
                                                                rather than corporate interests. Id., at 499. The Complaint
elements.
                                                                is silent as to what personal motivations Mr. Goldan had
     First, the cause of action fails as to the first element   or even might have had in allegedly interfering with the
for the reasons discussed above concerning the invalidity       marketing agreement.
of the contract.
                                                                     For these reasons, the undersigned must recommend
     Second, the cause of action fails because all of the       that the Motion to Dismiss the Second Cause of Action
allegations of the Complaint, when read together, reveals       for tortious interference with contract be granted, and that
that Mr. Goldan was an officer of a contracting party or        this claim be dismissed.




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C. Defamation                                                     these pleadings inasmuch as plaintiff fails to even allege
                                                                  the statements were made to third parties, much less their
     In its third cause of action, plaintiff asserts a claim      names.
for defamation. There are two separate torts encompassed
by the term "defamation," those being libel and slander.               Second, because plaintiff has failed to allege the
           Generally, "libel is written while slander             content of the statements - - other than legal conclusions
        is oral." "[W]hen defamatory words are                    as to the nature of the statements - - the court cannot
        spoken with the intent that the words be                  effectively execute its gatekeeper responsibilities under
        reduced to writing, and the words are in                  North Carolina law. As Judge Voorhees found in another
        fact written, the publication is both slander             case,
        and libel."
                                                                             [t]he alleged defamatory statement or
                                                                         statements made or published by the
     Gaunt v. Pittaway, 135 N.C.App. 442, 447, 520                       defendant need not be set out verbatim in
S.E.2d 603 (1999)(citations omitted). In this [*27] case,                plaintiff's defamation complaint if alleged
plaintiff contends that Mr. Goldan, "individually and on                 substantially in haec verba, or with
behalf of RDLG, has slandered and otherwise disparaged                   sufficient particularity to enable the court
RPM with false statements concerning . . . the                           to determine whether the statement was
professionalism, abilities, honesty, and integrity of                    defamatory.
RPM." Compl., at ¶ 26. Thus, it appears that plaintiff's
claim is limited to slander.                                      Mkt. Choice, Inc. v. New Eng. Coffee Co., 2009 U.S.
                                                                  Dist. LEXIS 73627, 2009 WL 2590651, 5 (W.D.N.C.
     The elements of slander are that a statement (1) was         Aug. 18, 2009)(Voorhees, J.)(citations and corresponding
made to a third person and (2) that such statement was            [*29] quotation marks omitted).8 The district court
false. Andrews v. Elliot, 109 N.C. App. 271, 426 S.E.2d           further held that
430, 432 (N.C. Ct. App. 1993). A slander per se occurs                        the proper standard for assessing the
                                                                          legal sufficiency of a claim for defamation
               when considered alone without                              focuses on the requirements of Rule 8(a).
        explanatory circumstances [the statement]                         Under this standard, the complaint must
        (1) charges that a person has committed an                        allege enough facts to demonstrate that the
        infamous crime... (3) tends to impeach a                          claim is plausible on its face.
        person in that person's trade or profession;
        or (4) otherwise tends to subject one to                  Id. (citations omitted). The court simply cannot discern
        ridicule, contempt or disgrace.                           what was said to whom under what circumstances, all of
                                                                  which would have enabled the court to determine whether
Gaunt, 135 N.C.App. at 448 (citation omitted).                    plaintiff has alleged a plausible claim. Plaintiff's reliance
                                                                  on inferences to be drawn from what is clearly an
     The problems identified in the motion to dismiss are
                                                                  insufficient claim, rather than simply amend the claim to
that plaintiff has failed to allege the identities of the third
                                                                  allege to whom such statements were made and include
parties to whom the statements were made (publication)
                                                                  some description of the statements in haec verba, makes
and the content of the allegedly tortuous statements. First,
                                                                  the claim insufficient under Rule 8(a). See Fed.R.Civ.P.
because plaintiff must prove that the allegedly
                                                                  15(a)(1)(B).
defamatory statements were made to third parties, West
v. King's Dept. Store, Inc., 321 N.C. 698, 703, 365 S.E.2d               8 Due to the limits of Electronic Case Filing, a
621 (1988), [*28] failure to allege plausible facts upon                 copy of such unpublished decision is placed in the
which a jury could find in plaintiff's favor on that element             electronic docket through incorporation of the
is fatal to the claim. Iqbal, supra. Further, plaintiff makes
                                                                         Westlaw citation.
no attempt through amendment to identify those third
parties. See Fed.R.Civ.P. 15(a)(1)(B). Instead, it simply              The undersigned will therefore recommend that the
argues the existence of such facts can be surmised                third cause of action be dismissed in accordance with
through inference. Such inference is not warranted by




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Rule 12(b)(6) inasmuch as plaintiff has failed to allege          The parties are hereby advised that, pursuant to 28,
enough facts to demonstrate that the claim is plausible on   United States Code, Section 636(b)(1)(C), and Rule 72,
[*30] its face.                                              Federal Rules of Civil Procedure, written objections to
                                                             the findings of fact, conclusions of law, and
RECOMMENDATION                                               recommendation contained herein must be filed within
                                                             fourteen (14) days of service of same. Responses to the
   IT IS, THEREFORE,                  RESPECTFULLY           objections must be filed within fourteen (14) days of
RECOMMENDED that                                             service of the objections. Failure to file objections to this
                                                             Memorandum and Recommendation with the district
         (1) defendants' Rule 12(b)(5) Motion to             court will preclude the parties from raising such
       Dismiss (#30) the claims against                      objections on appeal. Thomas v. Arn, 474 U.S. 140, 106
       Defendant Goldan be DENIED; and                       S. Ct. 466, 88 L. Ed. 2d 435 (1985), reh'g denied, 474
                                                             U.S. 1111 (1986); United States v. Schronce, 727 F.2d 91
            (2) defendants' Rule 12(b)(6) Motion
                                                             (4th Cir.), cert. denied, 467 U.S. 1208 (1984).
       to Dismiss (#30) the Complaint in its
       entirety be ALLOWED, and that                             Signed: December 21, 2010
       Complaint in 1:10cv233 be DISMISSED
       in its entirety for the reasons discussed                 /s/ Dennis L. Howell
       above.
                                                                 Dennis L. Howell

                                                                 United States Magistrate Judge
Time for Objections




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                DIARIO EL PAIS, S.L. and PRISACOM, S.A., Plaintiffs, against THE NIELSEN
                                   COMPANY, (US), INC., Defendant.

                                                   07CV11295(HB)

                 UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                                         NEW YORK

                                            2008 U.S. Dist. LEXIS 92987


                                             November 6, 2008, Decided
                                              November 6, 2008, Filed

COUNSEL: [*1] For Diario Pais, S.L., Prisacom, S.A.,         online version of El Pais; both are based in Madrid.
Plaintiffs: William O. Purcell, LEAD ATTORNEY, K&L           Defendant Nielsen is a New York corporation and one of
Gates LLP(NYC), New York, NY.                                several subsidiaries of a Dutch corporation that together
                                                             provide audience measurement and business media
For The Nielsen Company (US), Inc., Defendant: Aidan         products. In its motion to dismiss, Defendant raises [*2]
John Synnott, William James Taylor, Jr., Paul, Weiss,        the following arguments: (1) that Netratings Spain, S.L.
Rifkind, Wharton & Garrison LLP (NY), New York, NY.          Unipersonal ("Netratings"), a Spanish corporation and
                                                             distant affiliate of Defendant, provided the allegedly
JUDGES: Hon. Harold Baer, Jr., United States District        erroneous information pursuant to a contract with
Judge.                                                       Prisacom and is thus the proper defendant here; (2) that
                                                             Plaintiffs' claims are contract claims improperly cast as
OPINION BY: Harold Baer, Jr.                                 tort claims; and (3) even if Defendant did owe Plaintiffs
                                                             an independent duty not covered by the contract, the
OPINION                                                      allegedly libelous speech is protected by the First
                                                             Amendment. For the reasons discussed below,
                                                             Defendant's motion to dismiss is granted.
OPINION AND ORDER
                                                             I. FACTS
    Hon. HAROLD BAER, JR., District Judge:
                                                                  El Pais owns and publishes El Pais, which is Spain's
     Plaintiffs Diario El Pais, S.L. and Prisacom, S.A.
                                                             most widely read newspaper, and Prisacom controls and
filed an amended complaint on April 3, 2008 charging
                                                             operates various websites including the digital version of
Defendant The Nielsen Company, (US), Inc. with trade
                                                             El Pais, elpais.com. Am. Compl. P 1. Plaintiffs allege
libel, tortious interference with economic prospects,
                                                             that the Defendant Nielsen is the world's leading provider
negligent interference with economic prospects, and
                                                             of audience measurement services and that, through
negligent misrepresentation for lost advertising revenue
                                                             Nielsen Net Ratings or "NNR," it is the leading provider
resulting from the publication of allegedly erroneous
                                                             of online audience estimates in Spain. Id. at PP 2, 24, 26.
estimates of the number of visitors to Plaintiffs'
                                                             Such online audience estimates are generated from a
elpais.com website in 2007. Plaintiff El Pais is a leading
                                                             sample of users (a "NNR Panel") whose internet activity
Spanish newspaper and Prisacom is the owner of the
                                                             is tracked to form the raw data that Nielsen uses to




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produce, [*3] via a proprietary methodology, reports that             58.
purport to rank the most popular websites in a geographic
area based on the number of "unique users" that view the            That day, Prisacom contacted the [*5] Defendant for
website each month. Id. at PP 26, 27. To distinguish           an explanation and Mr. Gustavo Nunez, Defendant's local
user-directed internet activity from automatic or              general manager, confirmed that elpais.com data was
computer-generated activity, the NNR methodology does          being audited because of the high volume of traffic on the
not count automated "calls" to a website towards the site's    elpais.com RSS page. Id. at P 54. Mr. Nunez agreed not
ranking. 1 Id. at P 52.                                        to publish any revised data for August 2007 until
                                                               Prisacom had an opportunity to review the data and
       1    Such automated "calls" can occur when a            receive an explanation of the downward revisions of the
       website subscribes to a "RSS feed" (RSS stands          estimated online audience. Id. at P 55. On September 24,
       for "really simple syndication") to receive             2007, Louise Ainsworth, Defendant's European Manager,
       automatic updates (such as headlines) originating       affirmed this agreement. Id. at P 59.
       from a third party source (such as a media site like
       elpais.com). Am. Compl. PP 51-52. The website                Nonetheless, on September 25, 2007, online
       receiving the RSS feed will "call" the originating      audience data for August that reflected the recalculation
       website automatically. Id.                              was temporarily published through the Netview service,
                                                               though attempts were made to recall the published data
     Plaintiffs rely upon the rankings, describing them as     on that date. Am. Compl. PP 60, 66; Decl. of Ethan E.
the "currency" by which advertisers and their agencies         Litwin, (April 30, 2008) ("Litwin Decl."), Ex. E.
allocate advertising spending. Id. at PP 29, 30. Plaintiffs    Elpais.com fell from the # 1 to the # 3 ranked Spanish
do not allege that they have a contract with Defendant         website and its estimated audience was reduced by 1.8
The Nielsen Company (US). Rather, they allege that             million unique users from July 2007. Am. Compl. PP
Prisacom is one of the Defendant's numerous "clients" to       9-10. The next day, Jonathan Carson, president of
whom Defendant publishes its audience estimates. Id. at        Nielsen Online in New York, wrote to Plaintiffs in Spain
P 28.                                                          to confirm that the audience estimates in the NNR
                                                               "NetView service" would be "live [*6] in the Spanish
     Prior to March 2007, the NNR Panel for Spain              market" on September 27, 2007. Litwin Decl. Ex. E. Mr.
comprised [*4] 4,000 users who connected to the internet       Carson apologized that "the data went live temporarily"
from their homes. Id. at. P 38. Under this composition of      on September 25, 2007 before Prisacom had a chance to
the NNR Panel, elpais.com was ranked as the # 2 media          discuss the revised data with a member of the Nielsen
website for most of the period between August 2006 and         team as had been agreed. Am. Compl. P 69; Litwin Decl.
February 2007. Id. at PP 4, 47. In March 2007, the NNR         Exhibit E. Also on September 26, 2007 Defendant
Panel was increased from 4,000 to 16,000 home users            delivered a report to Prisacom titled "Elpais.com --
and 1,000 workplace users were added; Plaintiffs also          Correction of Reported Standard Metrics: March - July
allege that at this time revisions were made to the            2007" that explained the downward adjustments. Am.
methodology used to estimate unique visitors to a              Compl. PP 70, 71. However, Plaintiffs, conducted their
website. Id. at P 41. Plaintiff allege that in July 2007       own analysis of the revised data in the report and
Defendant reported that elpais.com was the # 1 website in      determined that the report was "either materially
Spain during the previous month. Id. at P 48. However,         incomplete and/or entirely without merit." Id. at P 16.
on September 21, 2007, three of Prisacom's competitors
published news articles that claimed traffic to elpais.com          Plaintiffs allege that on November 1, 2007,
had been erroneously inflated by automatic "calls" to          Defendant published the September 2007 data, which
elpais.com's RSS feed. Id. at P 51. 2 Plaintiffs allege that   showed again that elpais.com was ranked # 3. Id. at P 12.
persons within "Defendant's NNR business unit" were the        On November 28, 2007, Defendant published revised
source of the information in the news articles. Id. at P 51.   monthly data for the period March through July 2007
                                                               which reflected downward adjustments to elpais.com's
       2 Prisacom acknowledges that it maintains a             estimated audience ranging from 24% to 34%. Id. at P 13.
       RSS page but disputes that the RSS page could
       have caused a material overstatement of the             II. STANDARD OF REVIEW
       unique users to elpais.com. Am. Compl. PP 52,




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     Under Rule 12(b)(6), a complaint will be dismissed         (hereinafter the "Contract")) governs the matters in
if there is a "failure to state a claim upon which relief       dispute here and that therefore Netratings, the Spanish
[*7] can be granted." Fed. R. Civ. P. 12(b)(6). To survive      corporation, is the proper defendant. 4
a motion to dismiss, factual allegations must be enough
to raise a right to relief above the speculative level on the          4 Netratings is a wholly-owned subsidiary of
assumption that all of the complaint's allegations are true.           Netratings Australia Pty Limited, which in turn is
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct.                   a distant subsidiary of Nielsen. (See Def.'s Mem.
1955, 1965, 167 L. Ed. 2d 929 (2007); see also ATSI                    [*9] 3.)
Communications, Inc. v. Shaar Fund Ltd., 493 F.3d 87
                                                                     A breach of contract claim cannot be considered a
(2d Cir. 2007). The Court must read the complaint
                                                                tort unless a legal duty independent of the contract itself
generously, accepting the truth of and drawing all
                                                                has been violated. Clark-Fitzpatrick v. Long Island Rail
reasonable inferences from well-pleaded factual
                                                                Road, Co., 70 N.Y.2d 382, 516 N.E.2d 190, 193, 521
allegations. See Erickson v. Pardus, 551 U.S. 89, 127 S.
                                                                N.Y.S.2d 653 (N.Y. 1987); TD Waterhouse Investor
Ct. 2197, 2200, 167 L. Ed. 2d 1081 (2007); York v. Ass'n
                                                                Services, Inc. v. Integrated Fund Services, Inc., 01cv8986
of Bar of City of New York, 286 F.3d 122, 125 (2d Cir.
                                                                (HB), 2003 U.S. Dist. LEXIS 70, 2003 WL 42013, at
2002). However, the pleader may have to "amplify a
                                                                *13-14 (S.D.N.Y. Jan. 6, 2003). The independent legal
claim with some factual allegations where such
                                                                duty to support a tort claim must "spring from
amplification is needed to render the claim plausible."
                                                                circumstances extraneous to, and not constituting
Iqbal v. Hasty, 490 F.3d 143, 158 (2d Cir. 2007). Bald
                                                                elements of, the contract, although it may be connected
assertions and legal conclusions, or legal conclusions
                                                                with and dependent upon the contract." Clark-Fitzpatrick,
masquerading as facts need not be accepted as true by the
                                                                516 N.E.2d at 193.
Court. See Twombly, 127 S. Ct. at 1966.
                                                                     Therefore, if the rights, obligations and duties that
III. DISCUSSION
                                                                form the factual predicate for Plaintiffs' tort claims are
     Defendant argues first that this is a breach of contract   wholly encompassed by the Contract, this suit must be
case not a tort case, and that Netratings is the proper         dismissed. Conversely, if Plaintiffs' claims are based on
defendant, not The Nielsen Company. Defendant also              legal duties that arise from circumstances extraneous to
challenges the sufficiency [*8] of Plaintiffs' tort             the Contract and Plaintiffs' claims are otherwise properly
allegations themselves under Rule 12(b)(6). Additionally,       pled, Defendant's motion to dismiss should be denied.
Defendant argues that the statements at issue here are          Accordingly, the Court must consider the contents of the
protected by the free speech provisions of the United           Contract to determine its scope and whether the conduct
States and New York State Constitutions because they are        alleged by Plaintiffs is encompassed thereby.
opinions. 3
                                                                     The Court may properly consider the contents [*10]
       3 Because there are sufficient grounds to grant          of the Contract in ruling upon the instant motion to
       Defendant's motion to dismiss, I need not address        dismiss. Cortec Industries, Inc. v. Sum Holding, L.P., 949
       Defendant's alternative argument that the                F.2d 42, 48 (2d Cir.1991); Sel-Leb Marketing, Inc. v.
       published audience estimates are opinion                 Dial Corp., 2002 U.S. Dist. LEXIS 15932, 2002 WL
       protected by the United States and New York              1974056, 3 (S.D.N.Y. 2002) (noting the well settled rule
       Constitutions.                                           that documents that are an integral part of the complaint
                                                                and of which a plaintiff had knowledge my be considered
A. The Nature of Plaintiffs Claims                              on a motion to dismiss pursuant to Rule 12(b)(6)). "A
                                                                plaintiff's careful avoidance of certain documents in its
     Plaintiffs assert three tort claims against Nielsen        pleading does not make those documents any less integral
based on allegations that Nielsen published inaccurate          to the complaint. Sel-Leb Marketing, 2002 U.S. Dist.
estimates of the number of unique users to the elpais.com       LEXIS 15932, 2002 WL 1974056, 3 (citing Yak v. Bank
website. Am. Compl. PP 76-99. Defendant argues that a           Brussels Lambert, BBL (USA), 252 F.3d 127, 131 (2d
"Service Contract" dated July 26, 2005 between Prisacom         Cir.2001)). In the 12(b)(6) context, however, a document
and NetRatings (see Decl. of William J. Taylor, Jr. (April      integral to the complaint may be properly considered
17, 2008) Ex. D "Prisacom/Netratings Contract"                  "only to determine what the document[] state[s]," and




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"not to prove the truth of [its] contents." Roth v.                    6     Paragraph 9.2 makes clear that Netratings
Jennings, 489 F.3d 499, 509 (2d Cir. 2007) (quoting                    denies all other warranties, whether express or
Kramer v. Time Warner Inc., 937 F.2d 767, 774 (2d                      implicit. Thus, Netratings warrants that its reports
Cir.1991).                                                             will be generated in a manner consistent with its
                                                                       methodologies subject to the limitations of its
    1. Scope of the Contract.                                          sources, but disclaims any implied warranty that
                                                                       its estimates are an accurate statement of actual
     The Contract recites that Prisacom is interested in               internet usage.
adopting one of Netratings "Solutions" for purposes of
measuring its websites." 5 Contract PP 2, 3. Specifically,          Finally, the Contract addresses the scope of
pursuant to the Contract, Prisacom [*11] retained one of       Netratings' liability in connection with provision of the
Netratings "Solutions" known as "Netview" which is             contracted-for services. Specifically, Paragraph 9.3
"based on the NETRATINGS RDD Panel, which shows                provides that Netratings is not liable for any form of
information about the entire internet market for the           damages "resulting from agreements between [Prisacom]
contracted countries [i.e. Spain]." Id. at PP 2.2, 5.2.        [*13] and a third party, or for claims from a third party . .
Netview is accessible via a password-protected website         . engendered by the use of the Solutions and the
owned by Netratings (termed a "Netratings Portal"). Id. at     information they generate." Under Paragraph 9.4, "the
P1.3.                                                          total maximum liability of Netratings, under any
                                                               circumstance" is limited to the amount Prisacom has
       5 Under the Contract, the term "Solution" refers        actually paid under the Contract during the preceding
       to "any system developed by Netratings                  twelve months.
       composed of software, methodology, services and
       means of delivery of Information and Client                  Reading the Contract, it is evident that the Contract
       Data." (Contract P 1.5.) Under the Contract             encompasses (1) Prisacom's use of Netratings' internet
       "Information" includes "demographic and any             audience estimates to promote its website as an
       other information" provided by Netratings               advertising venue; (2) the limited scope of Netratings'
       "pursuant to this Contract and through its various      warranties as to the accuracy of the information and
       Solutions referring to the use and/or behavior of       reports delivered via the Netview service; and (3) the
       the Internet, computers, and advertising over the       limitations on Netratings' liability in the event of a breach
       Internet." (Contract P1.2.)                             of such warranties or claims of lost profits based upon
                                                               agreements between Prisacom and third parties.
     The Contract grants Prisacom a non-exclusive
license to use Netratings' proprietary intellectual            2. Overlap Between the Contract and Plaintiffs' Tort
property--i.e., Information made available through             Claims
Netview--subject to certain terms and conditions of use.
Namely, pursuant to Paragraph 6.2 of the Contract,                  Plaintiffs' claims are fundamentally premised on the
Prisacom is authorized to, inter alia, (i) use the             alleged inaccuracy of internet audience ratings that both
Information internally and (ii) disclose "in summarized        parties agree were produced and published by some part
form, limited [*12] excerpts of information to its             of the Nielsen corporate family. Am. Compl. PP 81, 91,
advertising agencies and clients insofar as it may be          96; Def.'s Mem. 7. Plaintiffs contend, however, that their
necessary for the marketing of its own products and/or         claims are not barred by the Contract because it [*14]
services."                                                     governs the "provision of Nielsen data to Prisacom" and
                                                               this action "concern's Nielsen's provision of Nielsen data
     The Contract also addresses the reliability or            to third parties." Pls.' Opp'n. Mem. 8. But Plaintiffs fail to
accuracy of the information provided via the Netview           acknowledge that not only is the allegedly libelous
service. Pursuant to Paragraph 9.1, Netratings warrants        "Nielsen data" precisely the type of intellectual property
"the proper functioning of the contracted services" and        covered by the Contract, but the Contract's non-exclusive
that the "the information compiled and delivered in the        license of that intellectual property inherently
reports is generated in accordance with the                    contemplates that the information will be shared with
methodologies used in each service, and that its reliability   other third-party licensees. Moreover, it is clear from the
corresponds to the limitations of each of the sources." 6      letter attached to Plaintiffs' Litwin Declaration that the




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information was published through the NetView                   presumption of separateness afforded to related
service--the very Netratings "Solution" retained by             corporations." De Jesus v. Sears, Roebuck & Co., Inc., 87
Prisacom pursuant to the Contract. Claims that the              F.3d 65, 70 (2nd Cir.1996) (internal quotation omitted);
information was generated in a manner inconsistent with         see Christensen v. SBM Industries, Inc., 9 Fed.Appx. 52,
the Netratings' own methodologies are covered by the            53 (2nd Cir. 2001) (under New York law, "[a] party
limited warranty set forth in Paragraph 9.1 (and subject to     seeking to pierce the corporate veil bears a heavy burden
the damage limitations of Paragraph 9.3 and 9.4). Claims        of demonstrating complete domination by the parent and
that the internet audience estimates are an inaccurate          that such domination was the instrument of fraud or
reflection of actual usage are precluded by Paragraph 9.2       otherwise resulted in inequitable consequences." (internal
which denies all other warranties whether express or            quotation omitted)). 9
implicit.
                                                                       7 At oral argument, Plaintiffs disavowed any
     It is thus clear that the Contract encompasses the                attempt to "pierce the corporate veil," arguing
fundamental subject matter of [*15] Plaintiffs' claims.                instead that The Neilsen Company was the "direct
Accordingly, the range of conduct alleged in the                       [*17] actor" and that the claims at issue are not
Amended Complaint that may possibly "spring from                       covered by the Contract. (Hrg Tr. 14:23-25; 16:
circumstances extraneous to" the Contract and give rise                1-4). However, because the bulk of the factual
to an "independent legal duty" is exceedingly narrow.                  underpinnings of Plaintiffs' claims are
Clark-Fitzpatrick, 516 N.E.2d at 193.                                  encompassed by the Contract, Plaintiffs must
                                                                       pierce the veil for Defendant to be liable for such
3. Defendant's Role                                                    conduct.
                                                                       8 The exhibit provided by Plaintiffs is dated at
     In an attempt to tie in Nielsen, Plaintiffs' call                 the time of briefing for this motion to dismiss, not
Prisacom a "client" of Nielsen because it publishes                    at the time that the acts underlying the Complaint
audience estimates to Prisacom. Am. Compl. P 28. But                   are alleged to have occurred.
delivering such audience estimates is unequivocally                    9 Even though veil-piercing allegations benefit
provided for in the Contract. Plaintiffs fail to allege facts          from the liberal pleading standards of Fed. R. Civ.
to support its conclusory assertion that Prisacom is a                 Pro. 8(a), Textiles Network Ltd. v. DMC
Nielsen "client" by virtue of anything other than the                  Enterprises, LLC, 2007 U.S. Dist. LEXIS 64247,
Contract.                                                              2007 WL 2460767, 2 (S.D.N.Y., 2007), Plaintiffs'
                                                                       Amended Complaint does not set forth any
     Plaintiffs also attempt to blur the distinction between
                                                                       veil-piercing allegations because Plaintiffs elected
the corporate identities of Netratings and Defendant, but
                                                                       to proceed against The Nielsen Company as a
Plaintiffs have not pled allegations sufficient to "pierce
                                                                       "direct actor" premised on their incorrect
the corporate veil." 7 In re Currency Conversion Fee
                                                                       conclusion that the claims at issue here were not
Antitrust Litig., 265 F.Supp. 2d 385, 426-27 (S.D.N.Y.
2003) (noting that "purely conclusory allegations cannot               encompassed by the Contract.
suffice to state a claim based on veil-piercing or alter ego         When they filed their Complaint, Plaintiffs knew
liability"). Plaintiffs request that this Court take judicial   they had a contract with Netratings, not Defendant. If
notice of a portion of the Netratings' website that             their true intent was to argue that Netratings was merely
references the Nielsen [*16] Company and labels                 the alter ego of Defendant, Plaintiffs should have
products such as Nielsen/NetRatings "brands" or                 so-alleged in their Complaint. But to do so, Plaintiffs
"services" as opposed to separate corporate subsidiaries        would [*18] have had to acknowledge the existence of
or affiliates. 8 (Pls.' Opp'n. Mem. 4-5; Litwin Aff., Exs.      the Contract and Plaintiffs, not surprisingly given their
B-D.) Not only are Plaintiffs barred from amending their        theory of the case, elected not to do so. Plaintiffs may not
complaint through their brief in opposition to the instant      escape the plain terms of the Contract by recasting their
motion to dismiss, La Salle Bank Nat'l Ass'n v. Citicorp
                                                                claims as torts.
Real Estate Inc. 2003 U.S. Dist. LEXIS 12043, 2003 WL
146148 at *4 (S.D.N.Y. 2003), but even if this Court                Finally, Plaintiffs attempt to reach Nielsen by their
were inclined to do as Plaintiffs request, the statements       focus on the fact that after the "leaks" surfaced, a
on Netratings' website are insufficient to overcome "the




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European Manager of Nielsen promised that Nielsen               company, acted with actual malice. Celle, 209 F.3d at
would review the new numbers jointly with Prisacom              177. Actual malice requires proof that party making the
before releasing the August estimates. Am. Compl. PP            statement had a subjective awareness of either the falsity
54-59. Further, Plaintiffs point to the letter from Mr.         or probable falsity of the defamatory statement, or acted
Jonathan Carson, the International President of Nielsen         with reckless disregard of its truth or falsity. Id. at
Online in New York, to Prisacom in which Mr. Carson             182-83. Actual malice must be pled with specificity.
acknowledged the August estimates may have been                 Themed Restaurants, Inc. v. Zagat Survey, LLC, 4 Misc.
prematurely published but insisted that the corrected           3d 974, 781 N.Y.S.2d 441, 449 (N.Y. 2004).
numbers were accurate. Am. Compl. P 69. But such post
hoc, corrective actions are not the allegedly tortious acts          Plaintiffs' conclusory and unsupported assertions that
for which Plaintiffs seek relief. Plaintiffs' claims are        the Defendant knew the revised audience estimates were
based on allegations that inaccurate audience estimates         inaccurate are insufficient to meet the pleading
were published, not that the estimates were prematurely         requirements for actual malice. Moreover, even Plaintiffs'
published in breach of Defendant's oral assurances that         own allegations show that Netratings and Nielsen took
Prisacom would be allowed to review them first.                 actions to ensure that the revised audience estimates
                                                                (about which Plaintiffs complain) were accurately
     Because Plaintiffs' claims are encompassed by the          computed in accordance with Netratings' methodology.
Contract [*19] and Plaintiffs have failed to allege either      According to the Amended Complaint, on September 21,
that Defendant has breached an independent legal duty           2007, the day that Plaintiffs' competitors published news
extraneous to the Contract or that Netratings is merely the     articles about the revised audience estimates, Defendant's
alter ego of Defendant, Plaintiffs have failed to state a       local general manager told Prisacom that [*21] "the
claim for which relief may be granted under Rule                elpais.com data was being audited due to a high
12(b)(6).                                                       percentage of traffic that had been observed on
                                                                elpais.com's RSS page." 10 Am. Compl. P 54. The audit
    B. Failure to State The Tort Claims                         and Defendant's September 26, 2007 report belie a
                                                                subjective belief that the resultant estimates (i.e. those
     Even if Plaintiffs' claims were not barred as              published September 25, 2007 and thereafter) are
encompassed by the Contract under the rule of                   accurate; such actions are clearly inconsistent with a
Clark-Fitzpatrick, Plaintiffs' Amended Complaint fails to       "reckless disregard" for the truth.
state a claim for which relief may be granted. Each of
Plaintiffs' claims is addressed in turn.                               10 Plaintiffs do not complain about the initial
                                                                       March - June 2007 estimates which showed
    1. Trade Libel:                                                    elpais.com ascending to the # 1 spot, but which
                                                                       Netratings concluded improperly counted
      There are four elements to a trade libel claim: (1)
                                                                       automatic calls to elpais.com's RSS page. (See
falsity of the alleged statements; (2) publication to a third
person; (3) malice; and (4) special damages. Computech                 Am. Compl. P 76.)
Int'l, Inc. v. Compaq Computer Corp., 2002 U.S. Dist.                From the face of the Amended Complaint,
LEXIS 20307, 2002 WL 31398933, at *5 (S.D.N.Y. Oct.             Defendant's actions demonstrate a concerted effort to
24, 2002). Defendant argues that Plaintiffs failed to allege    ensure that the published estimates were accurately
malice or meet the pleading requirements for special            calculated in accordance with Netratings' methodology.
damages under FRCP 9(g). Def.'s Mem. 21.                        Whether the revised estimates misstate the actual number
                                                                of unique users to elpais.com as Plaintiffs suggest is
     The Plaintiffs fail to properly allege "actual malice,"
                                                                merely a difference of opinion as to whose methodology
which is a required element when the party libeled is a
                                                                provides a more reliable estimate of actual internet
public figure. See New York Times v. Sullivan, 376 U.S.
                                                                traffic. But contentions that a different methodology
254, 280, 84 S. Ct. 710, 11 L. Ed. 2d 686 (1964); Celle v.
                                                                would have produced a more accurate result do not
Filipino Reporter Enterprises Inc. 209 F.3d 163, 177 (2d
                                                                amount to allegations that Defendant [*22] acted with
Cir. 2000). [*20] As owners and operators of media
                                                                actual malice when it published estimates that it had
outlets, Prisacom and El Pais qualify as "public figures"
                                                                confirmed were consistent with its own methodology.
and consequently must allege that Nielsen, also a media




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Plaintiffs fail to state a claim for trade libel because their   prospective ones.
Amended Complaint does not allege facts that render
"plausible" the actual malice element of trade libel, Iqbal           Moreover, even if Plaintiffs have sufficiently alleged
v. Hasty, 490 F.3d 143, 158 (2d Cir. 2007), let alone a set      that Nielsen intended to publish inaccurate estimates (a
facts that satisfy the heightened pleading requirements for      contention clearly undermined by Plaintiffs' allegations
actual malice. Zagat Survey, 781 N.Y.S.2d at 449.                about Defendant's audit and other efforts to ensure the
                                                                 accuracy of published estimates), Plaintiffs have not
    Therefore, Plaintiffs' claim for trade libel must be         made allegations that suggest the estimates were
dismissed.                                                       published with an intent to interfere with Plaintiffs'
                                                                 business relationships. With respect to the "intent to
   2. Tortious Interference             with     Prospective     interfere" or "improper means" element of the tort,
Economic Advantage 11                                            Plaintiffs sole factual allegations relate to the timing of
                                                                 Defendant's release of its estimates--that Defendant's
        11 There is no claim for negligent interference          "leaked" the revised statistical estimates to Plaintiffs'
        with prospective economic advantage under New            competitors and then published them before Plaintiffs had
        York law. Bishop v. Porter, 2003 U.S. Dist.              an opportunity to comment. But Plaintiffs' tortious
        LEXIS 7625, 2003 WL 21032011, at *12                     interference claim stems from the alleged inaccuracy of
        (S.D.N.Y. May 8, 2003).                                  the estimates, not the timing of their release. Plaintiffs do
                                                                 not offer any allegation that, if true, would show
     Tortious interference claims have a limited scope and
                                                                 Defendant deliberately or improperly produced
an extremely high pleading standard. Genal Strap v. Irit
                                                                 inaccurate audience estimates to interfere with Plaintiffs'
Dar, 2005 WL 525547, at *3 (E.D.N.Y. 2005). To render
                                                                 advertising business. Therefore, Plaintiffs' claim for
Plaintiffs' tortious interference claim "plausible," See
                                                                 tortious interference with prospective economic [*25]
Iqbal, 490 F.3d at 158 (2d Cir. 2007), Plaintiffs must
                                                                 advantage must be dismissed.
provide some factual allegations that but-for Defendant's
alleged acts, Plaintiffs would have entered into contracts       3. Negligent Misrepresentation
with specific prospective advertisers or maintained [*23]
consistent levels of advertising with their existing                  Under New York law, a claim of negligent
advertisers. See, School of Visual Arts v. Kuprewicz 3           misrepresentation lies where (1) the defendant had a duty,
Misc. 3d 278, 771 N.Y.S.2d 804, 813 (N.Y.Sup. 2003)              as a result of a special relationship, to give correct
("It is well-settled that an essential element of [the           information, (2) the defendant made a false representation
intentional interference with prospective economic               that he or she should have known was incorrect, (3) the
advantage] tort is that the plaintiff would have                 information supplied in the representation was known by
consummated a contract with another person but for the           the defendant to be desired by the plaintiff for a serious
interference of the defendant"). Moreover, Plaintiffs must       purpose, (4) the plaintiff intended to rely and act upon it,
also allege that Defendant intentionally interfered with         and (5) the plaintiff reasonably relied on it to his or her
Plaintiffs' existing business relationships and acted solely     detriment. Henneberry, 532 F. Supp. 2d 523.
out of malice or used dishonest, unfair, or other improper
means. Henneberry v. Sumitomo Corp. of America, 415                   Allegations of negligent misrepresentation must
F.Supp.2d 423, 467 (S.D.N.Y.,2006) (citing Carvel Corp.          comply with the particularity requirements of Fed. R.
v. Noonan, 350 F.3d 6, 17 (2d Cir. 2003)).                       Civ. P. 9(b). Aetna Cas. and Sur. Co. v. Aniero Concrete
                                                                 Co., Inc., 404 F.3d 566, 583 (2nd Cir. 2005); Phoenix
     Plaintiffs allege that Nielsen intentionally published      Four, Inc. v. Strategic Res. Corp., 05 CV 4837 (HB) 2006
inaccurate and unreliable estimates of elpais.com's online       U.S. Dist. LEXIS 6512, 2006 WL 399396, *10 (S.D.N.Y.
audience to companies and advertising firms with whom            Feb. 21, 2006). Rule 9(b) requires the specific pleading of
Plaintiffs have or could have done business, damaging            "facts that 'give rise to a strong inference' that the
Plaintiffs' existing and prospective business relationships.     defendants had an intent to defraud, knowledge of the
Am. Compl. P 91. But Plaintiffs do not assert any factual        falsity or a reckless disregard for the truth." Henneberry,
allegations that, if true, would show that the inaccurate        532 F. Supp. 2d at 542. The inference may be established
audience estimates were the "but-for" cause of damage to         either (a) by [*26] alleging facts that show that
existing [*24] business relationships or loss of                 defendants had both motive and opportunity to commit




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fraud, or (b) by alleging facts that constitute strong         usage data and estimates in accordance with Netratings'
circumstantial evidence of conscious misbehavior or            proprietary methodologies. And even if the Contract does
recklessness. Id.                                              not govern the relationship between Plaintiffs and
                                                               Nielsen, Plaintiffs have not provided factual allegations
     Plaintiffs fail to allege facts to support such an        that support an inference that the relationship was
inference. First, Plaintiffs fail to make any allegations      anything more than an arms-length. Moreover, Plaintiffs
that Defendant had a motive to publish inaccurate              cannot claim that this is a case where a party "wholly
audience estimates or to favor Plaintiffs' competitors. To     without knowledge seek[s] assurances from one with
the contrary, Defendant has a strong motivation to ensure      exclusive knowledge" Heard v. City of New York, 82
the accuracy of the estimates that are its primary product     N.Y.2d 66, 623 N.E.2d 541, 603 N.Y.S.2d 414 (1993)
and, in Plaintiffs' words, the "currency" of the internet      because Plaintiffs' own internet audience estimates show
advertising industry. Second, Plaintiffs allege no facts       that Defendant is not the exclusive holder of specialized
that are strong circumstantial evidence of conscious           knowledge about how to estimate internet traffic. Thus,
misbehavior or recklessness. From the face of Plaintiffs'      the claim for negligent misrepresentation must be
Amended Complaint it is clear that Defendant and               dismissed.
Netratings audited their data and analyzed it to ensure
that the estimates were generated in accordance with their     IV. CONCLUSION
methodologies.
                                                                   For the reasons stated above, the Defendant's [*28]
     A claim of negligent misrepresentation also requires      motion to dismiss the complaint is granted. The Clerk of
a special relationship of trust or confidence between the      the Court is instructed to close the case and any open
parties. Henneberry, 532 F. Supp. 2d at 538. Plaintiffs fail   motions and remove it from my docket.
to sufficiently allege such a special relationship whether
or not the Contract governs [*27] the business                 SO ORDERED
relationship between Prisacom and Nielsen; courts have
                                                               New York, New York
routinely held that an arms-length commercial
transaction, without more, does not give rise to a special     November 6, 2008
duty to speak with care. Id. at 539 (citing Kimmell v.
Schaefer, 89 N.Y.2d 257, 652 N.Y.S.2d 715, 718, 675                /s/ Harold Baer, Jr
N.E.2d 450 (1996)). Plaintiffs have not alleged that
Defendant did anything other than what Netratings was              U.S.D.J.
obligated to do by the Contract: namely, provide internet




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                            ERIC ESANCY, Plaintiff, vs. JAMES T. QUINN, Defendant

                                           CIVIL DOCKET NO.: 5:05CV26

                  UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            NORTH CAROLINA, STATESVILLE DIVISION

                                               2006 U.S. Dist. LEXIS 8479


                                              February 10, 2006, Decided

COUNSEL: [*1] For Eric Esancy, Plaintiff: C. Gary              Commc'ns, Inc., 292 F.3d 181, 189 (4th Cir. 2002)
Triggs, C. Gary Triggs, P. A., Morganton, NC.                  (noting that "at the motion to dismiss stage, a court must
                                                               accept the allegations in the complaint as true and view
For James T. Quinn, Defendant: Clisby Hall Barrow,             the complaint in the light [*2] most favorable to the
Walker, Bryant, Tipps & Malone, Nashville, TN, US.             plaintiff").

JUDGES: Richard L. Voorhees, Chief United States                   Plaintiff Eric Esancy ("Plaintiff" or "Esancy") is
District Judge.                                                involved in various businesses, including financial
                                                               management companies, dealing primarily with banks
OPINION BY: Richard L. Voorhees                                and banking institutions. (Am. Compl. P 6). One such
                                                               banking institution with whom Plaintiff worked was the
OPINION                                                        Bank of Granite. (Id. P 22).

                                                                    Defendant James Quinn ("Defendant" or "Quinn")
ORDER                                                          was formerly an employee or agent of Private Business,
                                                               Inc. ("PBI"), which is a corporation engaged in business
    THIS MATTER is before the Court on Defendant's             enterprises similar to those engaged in by Plaintiff. (Id. P
"Motion to Dismiss Plaintiff's Defamation Claims" and          8). In October 2003, Plaintiff became involved in a
"Memorandum of Law in Support of Defendant's Motion            business relationship with PBI, which resulted in Plaintiff
to Dismiss Plaintiff's Defamation Claims," both filed          having business dealings with Defendant, the Chief Sales
September 30, 2005. [Documents ## 21, 22]. Plaintiff did       Officer of PBI. 1 (Id. P 10).
not file a Response. This Motion is now ripe for
disposition by the Court.                                             1 The Court is still unsure what these business
                                                                      deals entailed or in what capacity Plaintiff served
     Having carefully considered the arguments of the                 during these deals because Plaintiff's Amended
parties, the record, and the applicable authority, the Court          Complaint still lacks specificity in that regard.
will grant Defendant's Motion to Dismiss.
                                                                    Sometime in the late summer or fall of 2003,
I. FACTUAL AND PROCEDURAL HISTORY                              Plaintiff entered into [*3] a contract with Jeff DeWald,
                                                               who worked for a business named Adpro. (Id. P 15).
    For purposes of this Motion to Dismiss, the Court
                                                               Adpro was a bank product being presented to banks and
accepts the following facts derived from Plaintiff's
                                                               strategic partners within the industry. (Id.). Plaintiff was
Amended Complaint as true. See Darcangelo v. Verizon




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to assist in the promotion of Adpro. (Id.). Plaintiff         with Plaintiff in order to discover negative information
introduced PBI to Adpro in order to negotiate sales and       that could be used or disseminated by Defendant to
deliver sales relationships to PBI. (Id. PP 15, 16). In       promote his interests over Plaintiff's. (Id. P 25). Despite
return, Plaintiff was to receive performance-based            knowing that the statements, accusations, or innuendo
compensation. (Id. P 16). After introducing Adpro to PBI,     regarding Plaintiff were false, Defendant persisted in his
Adpro terminated its relationship with Plaintiff and          efforts to demean Plaintiff's character and reputation in
directly entered into an agreement with PBI, which            order to prohibit Plaintiff from directly competing with
effectively eliminated Plaintiff's opportunity for            Defendant. (Id. P 27). Plaintiff further maintains that "the
compensation. (Id. P 17). The termination of the business     Defendant utilizing his position as an officer with PBI
relationship between Adpro and Plaintiff was based in         sought to protect his personal interest by systematically
whole or part upon false, negative, and misleading            attempting to undermine the credibility of the Plaintiff
statements made by Defendant individually and in his          through the making of false and demeaning statements
capacity as an agent for PBI. (Id. P 19).                     which he knew or by reasonable diligence should have
                                                              known, were untrue." (Id. P 14).
     In late February or early March of 2004, Defendant,
acting as an agent for PBI, called Plaintiff and accused           Based on these facts, on January 26, 2005, Plaintiff
him of past negative performance. (Id. P 11). Defendant       filed [*6] a Complaint in the Superior Court Division of
further advised Plaintiff of a conversation Defendant had     Iredell County, seeking to recover compensatory and
with John Gabriel, Senior Vice-President of the Bank of       punitive damages, as well as attorney's fees, for
Granite. [*4] Specifically, Defendant told Plaintiff that     defamation of character, fraud/misrepresentation, tortious
during his conversation, Defendant told Mr. Gabriel that      interference with contract, unfair and deceptive trade
Plaintiff had a terrible reputation within the industry and   practices, and civil conspiracy. On February 25, 2005,
created bad situations at various banks, with which he        Defendant removed the action to this Court.
had been associated and which required the Defendant to       Subsequently, on March 1, 2005, Defendant filed a
cleanup after Plaintiff. (Id. P 22(A)). Defendant further     Motion to Dismiss and Motion for More Definite
allegedly advised Mr. Gabriel that Plaintiff's failure to     Statement. In an Order dated July 21, 2005, the Court: (1)
properly supervise his accounts had resulted in Plaintiff     granted Defendant's Motion to Dismiss Plaintiff's
losing PBI's business. (Id. P 22(B)). Defendant also stated   fraud/misrepresentation claim; (2) granted Defendant's
that Plaintiff's reputation with various banks, including     Motion to Dismiss Plaintiff's unfair and deceptive trade
the Bank of Granite, was very poor. (Id. P 22(C)). Mr.        practices claim with regard to Defendant's alleged
Gabriel responded by allegedly telling Defendant that the     deceptive acts; and (3) granted Defendant's Motion for
Bank of Granite was dissatisfied with Plaintiff's             More Definite Statement and gave Plaintiff thirty days to
performance, which resulted in the Bank terminating its       submit a more definite statement of allegations
contract with PBI. (Id. P 12).                                supporting both his unfair trade practices claim and
                                                              Plaintiff's defamation claim. In accordance with this
     After being advised of the purported conversations       Order, on August 19, 2005, Plaintiff filed an Amended
between Defendant and Mr. Gabriel, Plaintiff personally       Complaint, alleging claims for defamation of character,
contacted Mr. Gabriel, who orally and in writing denied       tortious interference with contract, unfair and deceptive
ever having such conversations with Defendant and, in         trade practices, and civil conspiracy.
fact, indicated that at all times he was satisfied with the
way Plaintiff handled his business relationship with the      [*7] II. DISCUSSION
Bank. (Id. P 13).
                                                                  Defendant now moves to dismiss Plaintiff's
     Defendant also [*5] made the same or similar             defamation claim, arguing that Plaintiff's allegations are
statements as purportedly discussed with Mr. Gabriel to       insufficient to maintain a cause of action for defamation.
other customers or entities with whom Plaintiff was           As noted above, Plaintiff did not respond to Defendant's
involved, with the intent to defame Plaintiff's good          Motion to Dismiss.
character. (Id. PP 23, 24). Moreover, Defendant sent one
or more of his employees to various banks, including the      A. Standard of Review
Bank of Granite, to ask questions about their involvement
                                                                  The purpose of a Rule 12(b)(6) motion is to test the




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legal sufficiency of a plaintiff's complaint. Suarez v.         on a defamation claim, a plaintiff must allege and prove
Charlotte-Mecklenburg Schs., 123 F. Supp. 2d 883,               that the defendant made a false and defamatory statement
885-86 (W.D.N.C. 2000) (citing Republican Party of              of or concerning the plaintiff, which was published to a
N.C. v. Martin, 980 F.2d 943, 952 (4th Cir. 1992)). In          third person, and caused injury to the plaintiff's
considering a Rule 12(b)(6) motion to dismiss, the court        reputation. Smith-Price v. Charter Behavioral Health
must take the allegations in the complaint as true and          Sys., 164 N.C. App. 349, 356, 595 S.E.2d 778, 783
construe the facts alleged in the complaint in the light        (2004) (quoting Tyson v. L 'Eggs Prods., Inc., 84 N.C.
most favorable to the plaintiff. GE Inv. Private Placement      App. 1, 10-11, 351 S.E.2d 834, 840 (1987)). "To be
v. Parker, 247 F.3d 543, 548 (4th Cir. 2001). "[Dismissal       actionable, a defamatory statement must be false and
may occur] only if it appears beyond doubt that the             must be communicated to a person or persons other than
plaintiff[] can prove no set of facts in support of [her]       the person defamed." Andrews, 109 N.C. App. at 274,
claim that would entitle [her] to relief." Jackson v. Blue      426 S.E.2d at 432. [*10]
Dolphin Commc'ns of N.C., L.L.C., 226 F. Supp. 2d 785,
788-89 (W.D.N.C. 2002) (brackets in original) (quoting               When pleading a defamation claim, the alleged
[*8] Flood v. New Hanover County, 125 F.3d 249, 251             defamatory statement made or published by the defendant
(4th Cir. 1997)).                                               does not have to be set out verbatim in the plaintiff's
                                                                complaint if alleged "'substantially in haec verba, or with
     To survive a Rule 12(b)(6) motion, "a complaint            sufficient particularity to enable the court to determine
need only outline a recognized legal or equitable claim         whether the statement was defamatory.'" Id. (quoting
which sufficiently pinpoints the time, place, and               Stutts v. Duke Power Co., 47 N.C. App. 76, 83-84, 266
circumstances of the alleged occurrence and which, if           S.E.2d 861, 866 (1980)). Moreover, allegations of time
proven, will justify some form of relief." Jackson, 226 F.      and place are material for purposes of testing the
Supp. 2d at 789 (citation omitted). A motion to dismiss is      sufficiency of a pleading and, therefore, should be plead
not limited to claims of law which are obviously                in the complaint. FED. R. CIV. P. 9(f); see also Stutts, 47
unsupportable; rather if, as a matter of law, it is obvious     N.C. App. at 83, 266 S.E.2d at 866 (finding that use of
that no relief could be granted under any set of facts          the date "September 10, 1976" satisfied the time
alleged by the plaintiff, the claim must be dismissed. Id.      requirement and allegation of "the McGuire Nuclear
(quoting Neitzke v. Williams, 490 U.S. 319, 326-27, 109         Construction Project" was sufficient for the place
S. Ct. 1827, 104 L. Ed. 2d 338 (1989)).                         requirement of Rule 9(f)).

     Significantly, although a court must accept as true all    C. Plaintiff's Allegations of Defamation
material factual allegations in the complaint, the court
does not need to accept a plaintiff's "conclusory                   As noted above, Plaintiff claims that Defendant
allegations regarding the legal effect of the facts alleged."   defamed him to John Gabriel of the Bank of Granite, as
Labram v. Havel, 43 F.3d 918, 921 (4th Cir. 1995). In           well as to "various other customers or entities with which
sum, "dismissal under Rule 12(b)(6) is proper when on its       Plaintiff was involved." (Am. Compl. PP 20-27).
face the complaint reveals either no law supports the
                                                                   1. Defendant's        [*11]     statements to John
plaintiff's claim or the absence of fact sufficient [*9] to
                                                                Gabriel
make a good claim, or when some fact disclosed in the
complaint necessarily defeats the plaintiff's claim."               Plaintiff contends that during a conversation with
Andrews v. Elliot, 109 N.C. App. 271, 274, 426 S.E.2d           Defendant in February or March of 2004, Defendant
430, 432 (1993).                                                advised Plaintiff that during his conversations with John
                                                                Gabriel of the Bank of Granite, Defendant told Mr.
B. Pleading Defamation                                          Gabriel that Plaintiff had a terrible reputation within the
                                                                industry, that Plaintiff created bad situations in various
     "'The term defamation includes two distinct torts,
                                                                banks, and Plaintiff's failure to properly supervise his
libel and slander. In general, libel is written while slander
                                                                accounts resulted in a loss of business by PBI. (Am.
is oral.'" Iadanza v. Harper, 169 N.C. App. 776, 781, 611
                                                                Compl. PP 11, 12, 22). Plaintiff then admits that he
S.E.2d 217, 222 (2005) (quoting Tallent v. Blake, 57 N.C.
                                                                contacted Mr. Gabriel directly, and Mr. Gabriel orally
App. 249, 251, 291 S.E.2d 336, 338 (1982)). To prevail
                                                                and in writing denied ever having any such conversations




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with Defendant. (Id. PP 13, 22(C)). Moreover, Plaintiff           and in light of Plaintiff's failure to state the time and
admits in his Amended Complaint that Defendant never              place of any such alleged defamatory statements, the
made the alleged defamatory statements to Mr. Gabriel.            Court finds that dismissal of Plaintiff's defamation claim
(See Am Compl. P 22(C)) (alleging ". . . when asked               with regard to the alleged statements made by Defendant
specifically what banks the Defendant was referring to,           to Mr. Gabriel is proper.
he refused at first to tell the Plaintiff, but then advised the
Plaintiff about purported conversations that had taken                 2. Defendant's statements to "other customers or
place with John Gabriel at the Bank of Granite, which the         entities"
Plaintiff now knows were false") (emphasis added). As
                                                                       Plaintiff further alleges that "the Defendant made the
noted above, to sufficiently allege a defamation [*12]
                                                                  same of [sic] similar statements as set forth above to
claim, Plaintiff must allege that the false, defamatory
                                                                  various other customers or entities with which the
statements were published to a third party. Andrews, 109
                                                                  Plaintiff was involved, including but not limited to the
N.C. App. at 274, 426 S.E.2d at 432. Since Plaintiff
                                                                  Bank of Granite, with the clear intention to defame the
admits that Defendant never made any of the alleged
                                                                  good character of the Plaintiff." (Am. Compl. P [*14]
defamatory statements to Mr. Gabriel, Plaintiff has not
                                                                  23). Significantly, Plaintiff does not allege the specific
sufficiently pled a defamation claim. 2
                                                                  individuals to whom the alleged defamatory statements
        2     The Court notes that Plaintiff's Amended            were made, nor does he allege the time or place of the
        Complaint provides inconsistent statements, in            defamatory communications. Although Plaintiff is not
        that Plaintiff first alleges that Defendant made          required to set out verbatim the defamatory statements, in
        defamatory comments to Mr. Gabriel but then               order to overcome a Rule 12(b)(6) motion, at a minimum,
        immediately admits that such statements did not           Plaintiff must include the third-party to whom the
        occur. However, since Plaintiff was given an              statements were made, as well as the time and place of
        opportunity to amend his Complaint to more                the communication. Andrews, 109 N.C. App. at 274, 426
        clearly allege his defamation claim and in light of       S.E.2d at 432; FED. R. CIV. P. 9(f); Stutts, 47 N.C. App.
        Plaintiff's failure to file a Response to Defendant's     at 83, 266 S.E.2d at 866. Therefore, Plaintiff's allegations
        Motion to Dismiss to explain these inconsistent           in support of his defamation claim with regard to
        statements, dismissal of Count One with regard to         statements made by Defendant to "various other
        the "purported" statements made by Defendant to           customers or entities with which the Plaintiff was
        Mr. Gabriel is appropriate.                               involved" are insufficient to overcome Defendant's
                                                                  Motion to Dismiss.
     Additionally, although Plaintiff alleged the time and
place when he was made aware of the alleged [*13]                 III. CONCLUSION
defamatory statements - in February or March of 2004,
                                                                      IT IS, THEREFORE, ORDERED that Defendant's
during a phone conversation with Defendant - Plaintiff
                                                                  Motion to Dismiss Plaintiff's Defamation Claims is
has failed to allege the date on which the alleged
                                                                  hereby GRANTED. Count One of Plaintiff's Amended
defamatory statements were communicated from
                                                                  Complaint is hereby DISMISSED WITH PREJUDICE.
Defendant to Mr. Gabriel. (Am. Compl. PP 11-13, 22). In
order to properly plead a defamation claim, Plaintiff must            Signed: February 10, 2006
state the time and place of the alleged defamatory
communication. FED. R. CIV. P. 9(f).                                  Richard L. Voorhees

   In sum, since Plaintiff admits that Defendant never                Chief United States [*15] District Judge
made the alleged defamatory statements to Mr. Gabriel




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              GARY HAYLASH, Plaintiff, v. VOLVO TRUCKS NORTH AMERICA, INC., a/k/a
                     VOLVO TRUCK OF NORTH CAROLINA, INC., Defendant.

                                             CIVIL NO. 1:97CV01135

                  UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT OF
                             NORTH CAROLINA, DURHAM DIVISION

                                           1998 U.S. Dist. LEXIS 12511


                                             April 10, 1998, Decided
                                              April 10, 1998, Filed

DISPOSITION: [*1] Defendant Volvo Trucks North             MEMORANDUM OPINION
America, Inc.'s motion to dismiss [Doc. # 9] the Second
Claim for Relief and the Third, Fourth, and Fifth Causes       BULLOCK, Chief Judge
of Action in Plaintiff's amended complaint GRANTED,
                                                                This matter is before the court on Defendant Volvo
and the Second Claim for Relief and the Third, Fourth,
                                                           Trucks North America, Inc.'s ("Volvo") motion to
and Fifth Causes of Action in Plaintiff's amended
                                                           dismiss the Second Claim for Relief and the Third,
complaint DISMISSED.
                                                           Fourth, and Fifth Causes of Action in Plaintiff's amended
                                                           complaint pursuant to Rule 12(b)(6) of the Federal Rules
COUNSEL: For GARY HAYLASH, plaintiff: NANCY                of Civil Procedure. For the following reasons the court
PULLIAM QUINN, THE QUINN LAW FIRM,                         will grant Volvo's motion.
GREENSBORO, NC.
                                                               FACTS
For VOLVO TRUCKS NORTH AMERICA, INC.,
                                                               In assessing whether [*2] Plaintiff's amended
defendant: JULIANNA COCHRAN THEALL, MARTIN
                                                           complaint fails to state a claim upon which relief can be
N. ERWIN, SMITH HELMS MULLISS & MOORE,
                                                           granted, Plaintiff's factual allegations are taken as true.
GREENSBORO, NC.
                                                                Plaintiff, a former at-will employee of Volvo, suffers
For VOLVO TRUCKS NORTH AMERICA, INC.,
                                                           from a disabling condition in his back and also suffers
defendant: MICHAEL F. MARINO, FREDERIC
                                                           from depression. Plaintiff's wife suffers from multiple
FREILICHER, REED SMITH SHAW & MCCLAY,
                                                           sclerosis. Plaintiff alleges that his employment
MCLEAN, VA.
                                                           relationship with Volvo began to deteriorate in 1995
                                                           when his wife began experiencing an increase in her
JUDGES: Frank W. Bullock, Jr., United States District
                                                           symptoms of multiple sclerosis, which required more of
Judge.
                                                           Plaintiff's time and attention. Plaintiff further alleges that
                                                           Volvo refused his requested accommodation with respect
OPINION BY: Frank W. Bullock, Jr.
                                                           to intermittent medical leave and flexibility in work times
                                                           when necessary to coordinate nursing care arrangements
OPINION
                                                           for his wife. Finally, Plaintiff alleges Volvo terminated




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him in September 1996 because of his disability.                 reasonably foreseeable that such conduct would cause the
                                                                 plaintiff to suffer severe emotional distress, and (3) the
     On January 27, 1997, Plaintiff filed a charge with the      conduct did in fact cause the plaintiff to suffer severe
Equal Employment Opportunity Commission ("EEOC")                 emotional distress. Johnson v. Ruark Obstetrics and
alleging handicap discrimination in the decision to              Gynecology Assocs., P.A., 327 N.C. 283, 304, 395 S.E.2d
terminate his employment from Volvo. After receiving a           85, 97 (1990). The emerging view under North Carolina
right-to-sue letter from the EEOC, Plaintiff initiated this      law is that the same level of extreme and outrageous
action alleging a violation of the Americans with                conduct must be present in both negligent and intentional
Disabilities Act ("ADA"), [*3] 42 U.S.C. § 12101 et              infliction [*5] claims. See Lorbacher v. Housing Auth. of
seq., as well as state Law claims for breach of the              Raleigh, 127 N.C. App. 663, 493 S.E.2d 74, 82 (1997)
covenant of good faith and fair dealing, punitive                (affirming trial court's dismissal of intentional infliction
damages, intentional and/or negligent infliction of              of emotional distress claim and negligent infliction of
emotional distress, and equitable relief.                        emotional distress claim where plaintiff failed to allege
                                                                 conduct which rose to the extreme and outrageous level
    DISCUSSION                                                   required under North Carolina law).
     Dismissal under Rule 12(b)(6) is improper "unless it             To establish extreme and outrageous conduct, a
appears beyond doubt that the plaintiff can prove no set         plaintiff must allege conduct which is "'so outrageous in
of facts in support of his claim which would entitle him         character and so extreme in degree as to go beyond all
to relief." Conley v. Gibson, 355 U.S. 41, 45-46, 2 L. Ed.       possible grounds of decency and to be regarded as
2d 80, 78 S. Ct. 99 (1957). In considering a motion to           atrocious and utterly intolerable in a civilized
dismiss, the court accepts as true all well-pleaded              community.'" Briggs v. Rosenthal, 73 N.C. App. 672,
allegations and views the complaint in a light most              677, 327 S.E.2d 308, 311 (1985) (quoting Restatement
favorable to the plaintiff. Mylan Labs., Inc. v. Matkari, 7      (Second) of Torts, § 46, cmt. d). As a threshold matter, it
F.3d 1130, 1134 (4th Cir. 1993).                                 is a question of law for the court to determine whether the
                                                                 conduct complained of may be reasonably found to be
    Volvo first attacks Plaintiff's Second Claim for
                                                                 sufficiently outrageous to permit recovery. Hogan v.
Relief, which alleges that Volvo breached the implied
                                                                 Forsyth Country Club Co., 79 N.C. App. 483, 490, 340
covenant of good faith and fair dealing by terminating
                                                                 S.E.2d 116, 121 (1986) (citing to Restatement (Second) of
him in bad faith. It is well settled that North Carolina law
                                                                 Torts, § 46, cmt. h (1965)). If the conduct complained of
does not recognize a separate claim for wrongful
                                                                 could reasonably be regarded as extreme and outrageous,
discharge in bad faith. Amos v. Oakdale Knitting Co.,
                                                                 [*6] then the question of whether the conduct was
331 N.C. 348, 360, 416 S.E.2d 166, 173 (1992).
                                                                 sufficiently extreme and outrageous as to result in
Accordingly, the court will dismiss Plaintiff's Second
                                                                 liability is for the jury. Id.
Claim for Relief.

     Next, Volvo moves for dismissal [*4] of Plaintiff's              Here, Plaintiff alleges that Volvo was aware of the
                                                                 disabilities affecting Plaintiff and his wife, failed to make
Fourth Cause of Action, which asserts a claim for
                                                                 reasonable accommodations for his disabilities and to
intentional and/or negligent infliction of emotional
                                                                 permit a flexible work schedule so that he could
distress. Volvo contends that the amended complaint fails
                                                                 coordinate nursing care for his wife, and terminated him
to allege conduct sufficiently extreme and outrageous to
                                                                 because of his disability. Even assuming the truth of these
state a claim for emotional distress. The court agrees.
                                                                 allegations, Volvo's conduct does not rise to the level of
     Under North Carolina law, in order to maintain an           extreme and outrageous conduct as contemplated by
action for intentional infliction of emotional distress, one     existing case law. For instance, in Hogan, one of the
must prove: (1) extreme and outrageous conduct (2)               plaintiffs alleged that her supervisor cursed at her,
which is intended to cause and does cause (3) severe             refused to grant her a pregnancy leave of absence or to let
emotional distress. Dickens v. Puryear, 302 N.C. 437,            her leave work to go to the hospital when she felt labor
276 S.E.2d 325 (1981). A claim for negligent infliction of       pains, and required her to carry heavy objects despite his
emotional distress requires a plaintiff to establish that: (1)   knowledge of her physical condition. 79 N.C. App. at
the defendant engaged in negligent conduct, (2) it was           494, 340 S.E.2d at 123. The court held that such conduct




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"though unjustified under the circumstances apparent            equitable relief as part of Plaintiff's prayer for judgment
from [the plaintiff's] testimony, was not so 'extreme and       in connection with his remaining claim under the ADA. 1
outrageous' as to give rise to a claim for intentional
infliction of emotional distress." Id.; see also Lorbacher,            1 The court disagrees with Volvo's contention
[*7] 493 S.E.2d at 82 (affirming dismissal of emotional                that punitive damages are not available under the
distress claim where plaintiff alleged he was discharged               ADA for failing to make a reasonable
to deflect responsibility for deaths which had occurred at             accommodation to an employee with a disability.
housing units and because he had exercised his First                   See Def.'s Reply at 4. The provision that Volvo
Amendment rights and disclosed the defendant's                         relies upon, 42 U.S.C. § 1981a(a)(3) provides
negligent operations); Trought v. Richardson, 78 N.C.                  that:
App. 758, 338 S.E.2d 617 (1986) (alleged termination
without cause followed by false and malicious statements                         damages may not be awarded . . .
regarding reason for termination were insufficient to state                    where          the       [defendant]
a claim for intentional infliction of emotional distress).                     demonstrates good faith efforts, in
                                                                               consultation with the person with
     The courts have adhered to this high threshold for                        the disability who has informed the
outrageousness even where discriminatory intent is                             [defendant] that accommodation is
alleged. For example, the Fourth Circuit, applying North                       needed, to identify and make a
Carolina law, affirmed a district court's grant of summary                     reasonable accommodation that
judgment against an employee where the employee had                            would provide such individual
alleged inter alia that the employer had arbitrarily                           with     an      equally    effective
transferred accounts from her to male employees,                               opportunity and would not cause
unnecessarily delayed and/or denied her orders and price                       an undue hardship on the operation
quotes, secretly allowed her telephone messages to be                          of the business.
used by male employees to obtain her prospective clients,
and otherwise harassed and humiliated her. Keziah v. W.                Here, however, Plaintiff has not alleged that
M. Brown & Son, Inc., 888 F.2d 322, 326-26 [*8] (4th                   Volvo made a good faith effort to accommodate
Cir. 1989). Similarly, a plaintiff's complaints that her               his disability, but that Volvo intentionally failed
supervisor "gave her too much work, required her to                    to make a reasonable accommodation and that
sweep and dust, and commented that blacks are slower                   Volvo did so with malice or reckless indifference
than whites" did not amount to extreme and outrageous                  to Plaintiff's federally protected rights. If true,
conduct. Patterson v. McLean Credit Union, 805 F.2d                    such allegations would entitle Plaintiff to recover
1143, 1145-46 (4th Cir. 1986), aff'd in part, vacated in               punitive damages under the ADA. 42 U.S.C. §
part on other grounds, 491 U.S. 164 (1989).                            1981a(a)(2) & (b)(1).
Accordingly, the court will grant Volvo's motion to
dismiss Plaintiff's Fourth Cause of Action.                          [*10] CONCLUSION

     Finally, the court turns to Plaintiff's Third Cause of         For the foregoing reasons, the court will grant
Action and Fifth Cause of Action which assert claims for        Volvo's motion to dismiss in its entirety.
punitive damages and equitable relief, respectively.
                                                                    An order in accordance with this memorandum
Punitive damages and equitable relief are not separate
                                                                opinion shall be entered contemporaneously herewith.
causes of action, but instead constitute requests for relief.
See, e.g., Shugar v. Guill, 304 N.C. 332, 335, 283 S.E.2d           April 10, 1998
507, 509 (1981) (holding that a civil action may not be
maintained solely for the purpose of collecting punitive            Frank W. Bullock, Jr.
damages but may be awarded only when a cause of action
otherwise exists in which at least nominal damages are              United States District Judge
recoverable by the plaintiff). Accordingly, the court will
dismiss Plaintiff's Third Cause of Action and Fifth Cause       ORDER
of Action, but will consider punitive [*9] damages and
                                                                    BULLOCK, Chief Judge




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For the reasons set forth in the memorandum opinion        of Action in Plaintiff's amended complaint be, and the
filed contemporaneously herewith,                          same hereby are, DISMISSED.

    IT IS ORDERED THAT Defendant Volvo Trucks                  April 10, 1998
North America, Inc.'s motion to dismiss [Doc. # 9] the
Second Claim for Relief and the Third, Fourth, and Fifth       Frank W. Bullock, Jr.
Causes of Action in Plaintiff's amended complaint be,
                                                               United States District Judge
and the same hereby is, GRANTED, and the Second
Claim for Relief and the Third, Fourth, and Fifth Causes




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                 Emmaline E. Shella, Plaintiff, v. Angela C. Foster, PC and Angela C. Foster,
                                           Attorney, Defendants.

                                               NO. COA05-342

                              COURT OF APPEALS OF NORTH CAROLINA

                                         2006 N.C. App. LEXIS 1216

                             November 3, 2005, Heard in the Court of Appeals
                                           June 6, 2006, Filed

NOTICE:                                                  OPINION BY: ELMORE

     [*1] PURSUANT TO RULE 32(b), NORTH                  OPINION
CAROLINA RULES OF APPELLATE PROCEDURE,
THIS DECISION IS NOT FINAL UNTIL                             Appeal by plaintiff from order dated 17 June 2003 by
EXPIRATION OF THE TWENTY-ONE DAY                         Judge William Z. Wood, Jr. and order dated 19 October
REHEARING PERIOD.           THIS IS AN                   2004 by Judge Catherine Eagles in Guilford County
UNPUBLISHED OPINION. PLEASE REFER TO THE                 Superior Court. Heard in the Court of Appeals 3
NORTH CAROLINA RULES OF APPELLATE                        November 2005.
PROCEDURE FOR CITATION OF UNPUBLISHED
OPINIONS.                                                    ELMORE, Judge.

                                                              Emmaline E. Shella (plaintiff) commenced this
SUBSEQUENT HISTORY: Reported at Shella v.
                                                         action by filing a complaint in Guilford County Superior
Foster, 630 S.E.2d 256, 2006 N.C. App. LEXIS 1256
                                                         Court on 24 October 2002. Plaintiff alleged that Angela
(N.C. Ct. App., June 6, 2006)
                                                         C. Foster (Foster), an attorney, had breached a contract to
PRIOR HISTORY:          Guilford County. No. 02 CVS      prepare a separation agreement to plaintiff's satisfaction
11260.                                                   for a fee of $ 750.00. Foster's draft of the separation
Shella v. Foster, 164 N.C. App. 598, 596 S.E.2d 473,     agreement was never executed. Plaintiff also asserted
2004 N.C. App. LEXIS 1073 (2004)                         claims of fraud, [*2] "tort," and punitive damages. The
                                                         trial court dismissed plaintiff's claims for fraud, "tort,"
DISPOSITION: Affirmed.                                   and punitive damages in an order dated 17 June 2003. By
                                                         an unpublished decision of this Court, plaintiff's appeal of
COUNSEL: Emmaline         Ellison   Shella,   pro   se   the 17 June 2003 order was dismissed as interlocutory.
plaintiff-appellant.                                     Shella v. Foster, 164 N.C. App. 598, 596 S.E.2d 473
                                                         (2004). In an order dated 19 October 2004, the trial court
Gray Newell Johnson & Blackmon, LLP, by Angela           granted summary judgment to defendants on plaintiff's
Newell Gray, for defendant-appellees.                    breach of contract claim. Plaintiff appeals.

JUDGES: ELMORE, Judge. Judges McCULLOUGH                     We first review the trial court's order granting
and LEVINSON concur.                                     defendants' motion to dismiss plaintiff's claims of fraud,
                                                         punitive damages, and "tort" pursuant to Rule 12(b)(6). A




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claim for fraud must be pled with particularity. See N.C.      statement. See id.; Homeowners Assoc. v. Sellers and
Gen. Stat. § 1A-1, Rule 9(b) (2005) ("In all averments of      Homeowners Assoc. V. Simpson, 62 N.C. App. 205, 208,
fraud, duress or mistake, the circumstances constituting       302 S.E.2d 848, 851 (1983) (where the defendant seeks
fraud or mistake shall be stated with particularity."). The    additional facts beyond the plaintiff's short and plain
essential elements of fraud are: "(1) False representation     statement of the claim, remedy is to move for a more
or concealment of a material fact, (2) reasonably              definite statement or to use discovery methods). Here,
calculated to deceive, (3) made with intent to deceive, (4)    however, the deficiency with plaintiff's complaint was
which does in fact deceive, (5) resulting in damage to the     not that it was lacking for facts. Instead, plaintiff did not
injured party." Ragsdale v. Kennedy, 286 N.C. 130, 138,        assert a legally cognizable claim for relief. Plaintiff
209 S.E.2d 494, 500 (1974). [*3]                               merely asserted that defendants committed a "tort"
                                                               against plaintiff. Black's Law [*5] Dictionary defines a
     Here, plaintiff alleges that Foster told her to bring $   tort as "[a] civil wrong for which a remedy may be
750.00 to her office; that Foster did not meet with            obtained, usu. in the form of damages[.]" Black's Law
plaintiff in person; and that Foster refused to return         Dictionary 1496 (7th ed. 1999). A tort is a broad category
plaintiff's $ 750.00 fee. However, plaintiff does not state    of legal claims for relief; alleging a tort does not place the
the content of any alleged fraudulent representation in        defending party on notice of the elements of a legally
connection with these facts. Thus, plaintiff's complaint       recognized claim. The trial court did not err in dismissing
fails to specifically allege the circumstances of fraud. See   plaintiff's claim for "tort."
Terry v. Terry, 302 N.C. 77, 85, 273 S.E.2d 674, 678
(1981) (plaintiff must allege content of fraudulent                 The trial court also did not err in dismissing
representation to meet particularity requirement for           plaintiff's claim for punitive damages. The standard for
pleading actual fraud; mere conclusory language                recovery of punitive damages is set forth in N.C. Gen.
asserting fraud insufficient).                                 Stat. § 1D-15, which provides:

     The trial court also dismissed plaintiff's claim for                 (a) Punitive damages may be awarded
"tort." We agree with defendants that plaintiff failed to              only if the claimant proves that the
state a claim for relief under Rule 8(a)(1) of the North               defendant is liable for compensatory
Carolina Rules of Civil Procedure. This Rule requires                  damages and that one of the following
"[a] short and plain statement of the claim sufficiently               aggravating factors was present and was
particular to give the court and the parties notice of the             related to the injury for which
transactions, occurrences, or series of transactions or                compensatory damages were awarded:
occurrences, intended to be proved showing that the
pleader is entitled to relief[.]" N.C. Gen. Stat. § 1A-1,                  (1) Fraud.
Rule (8)(a)(1) (2005).
                                                                           (2) Malice.
          A pleading [*4] complies with the rule
                                                                           (3) Willful or wanton conduct.
       if it gives sufficient notice of the events or
       transactions which produced the claim to
                                                               N.C. Gen. Stat. § 1D-15(a) (2005). Plaintiff did not allege
       enable the adverse party to understand the
                                                               any facts supporting fraud or willful or wanton conduct.
       nature of it and the basis for it, to file a
                                                               Plaintiff did aver that Foster prepared the separation
       responsive pleading, and--by using the
                                                               agreement "with malice" and "with intent of exerting [*6]
       rules provided for obtaining pretrial
                                                               more stress on the plaintiff." However, a conclusory
       discovery--to       get     any     additional
                                                               assertion of malicious conduct in the plaintiff's complaint
       information he may need to prepare for
                                                               is not taken as true upon review of a motion to dismiss.
       trial.
                                                               See Miller v. Rose, 138 N.C. App. 582, 592, 532 S.E.2d
                                                               228, 235 (2000) ("In ruling on a Rule 12(b)(6) motion to
Sutton v. Duke, 277 N.C. 94, 104, 176 S.E.2d 161, 167
                                                               dismiss, the trial court regards all factual allegations of
(1970). If the defendant requires additional facts to
                                                               the complaint as true . . . Legal conclusions, however, are
proceed with the defense of the case, then the defendant's
                                                               not entitled to a presumption of truth."). Plaintiff simply
proper remedy is to file a motion for a more definite
                                                               failed to present any facts in support of fraud, malice, or




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                                                                                                                    Page 3
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willful or wanton conduct by defendants. Her claim for         defendants on breach of contract claim proper where
punitive damages was properly dismissed.                       plaintiff's evidence did not show meeting of minds on
                                                               definite and certain terms); Orthodontic Ctrs. of Am., Inc.
    Next, plaintiff contends that the trial court erred in     v. Hanachi, 151 N.C. App. 133, 135, 564 S.E.2d 573, 575
granting summary judgment to defendants on the breach          (2002) (burden of proving valid contract is upon party
of contract claim. Plaintiff's claim is based upon the         seeking to enforce alleged contract).
agreement between herself and Foster that Foster would
prepare a separation agreement in return for payment for            Here, plaintiff contends that a contract exists because
these services. It is undisputed that Foster did in fact       "[t]he defendant agreed to draft the document [*8] in
prepare a separation agreement and that plaintiff paid         accordance with the plaintiff's specifications." But the
Foster a fee of $ 750.00. Plaintiff contends that the          record is lacking in any evidence to indicate what
content of the separation agreement was unsatisfactory         particular terms plaintiff desired to be included in the
and in contravention of plaintiff's stated specifications.     separation agreement and that Foster and plaintiff agreed
                                                               that these specific terms would be included therein. In
     Summary [*7] judgment is proper where the moving          short, plaintiff's evidence fails to establish a meeting of
party shows the lack of any triable issue. Collingwood v.      the minds as to the terms of an alleged contract entered
G.E. Real Estate Equities, 324 N.C. 63, 66, 376 S.E.2d         into by the parties. As there was no genuine issue of
425, 427 (1989). The moving party may meet this burden         material fact and defendants were entitled to judgment as
"by proving that an essential element of the opposing          a matter of law, see N.C. Gen. Stat. § 1A-1, Rule 56(c),
party's claim is nonexistent[.]" Id. "The elements of a        the trial court properly granted summary judgment on
claim for breach of contract are (1) existence of a valid      plaintiff's breach of contract claim.
contract and (2) breach of the terms of that contract."
Poor v. Hill, 138 N.C. App. 19, 26, 530 S.E.2d 838, 843            Affirmed.
(2000). Plaintiff's forecast of evidence must establish that
the parties reached an agreement as to definite and certain        Judges McCULLOUGH and LEVINSON concur.
terms. See Miller v. Rose, 138 N.C. App. 582, 587-88,
                                                                   Report per Rule 30(e).
532 S.E.2d 228, 232 (2000) (summary judgment for




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